7:24-cv-03179-TMC   Date Filed 11/13/24   Entry Number 39-4   Page 1 of 58




          EXHIBIT D




                                                                EXHIBIT D
                                                                 PAGE 130
     7:24-cv-03179-TMC           Date Filed 11/13/24        Entry Number 39-4       Page 2 of 58

      7:23-cv-01427-TMC           Date Filed 04/07/23      Entry Number 1     Page 1 of 22




                        IN THE DISTRICT COURT OF THE UNITED STATES
                            FOR THE DISTRICT OF SOUTH CAROLINA
                                   SPARTANBURG DIVISION

Blockquarry Corp. f/k/a ISW Holdings, Inc.,           Civil Action Number:

           Plaintiff,

v.                                                     COMPLAINT FOR DECLARATORY
                                                       JUDGMENT, INJUNCTION, AND
Litchain Corp. and Gaffney Board of Public             DAMAGES
Works,                                                          (Jury Trial Demanded)
           Defendants.


       Plaintiff Blockquarry Corp. f/k/a ISW Holdings, Inc. requests declaratory and injunctive

relief relative to matters effecting Defendants Litchain, Inc. and Gaffney Board of Public Works

and sues Defendants Litchain, Inc. for damages and alleges as follows.

                            PARTIES, JURISDICTION, AND VENUE

       1.         Plaintiff Blockquarry Corp. f/k/a ISW Holdings, Inc. (“Blockquarry”) is a

corporation organized under the laws of Nevada. The company is authorized to transact business

in the state of South Carolina and maintains a principal place of business in Texas.1

       2.         Defendant Litchain Corp. (“Defendant”) is a corporation organized under the laws

of Florida. The company is authorized to transaction business in the state of South Carolina and

maintains a principal place of business in Florida.

       3.         Defendant Gaffney Board of Public Works (the “Utility”) is a municipal

corporation organized under the laws of South Carolina. The Utility maintains a principal place




       1
         During 2021, Blockquarry caused a name change to occur with the Nevada Secretary of
State, changing the corporation’s name from ISW Holdings, Inc. to Blockquarry Corp.
                                                                                        EXHIBIT D
                                                                                         PAGE 131
  7:24-cv-03179-TMC               Date Filed 11/13/24         Entry Number 39-4           Page 3 of 58
      7:23-cv-01427-TMC             Date Filed 04/07/23      Entry Number 1        Page 2 of 22




of business in South Carolina and was founded to provide electric, water, and sewer public utility

services to customers within its retail service territory.

         4.        This Court has subject matter jurisdiction over the instant case because all parties

are diverse, including each plaintiff as to each defendant, and the amount in controversy exceeds

$75,000.00. See 28 U.S.C.A. § 1332.

         5.        The Court has personal jurisdiction over the Utility because it is a municipal

corporation organized under the laws of South Carolina and because it maintains a principal place

of business in South Carolina.

         6.        The Court has personal jurisdiction over Defendant because Defendant regularly

conducts business in South Carolina by, among other ways, contracting with the Utility and,

purportedly, Blockquarry for various performances due in the state of South Carolina.

         7.        Venue is proper in this Court because a substantial part of the events or omissions

giving rise to the instant claim occurred in Cherokee County, South Carolina and a substantial part

of property that is the subject of the action is situated in Cherokee County, South Carolina. See

28 U.S.C.A. § 1391(b)(2).

                                     FACTUAL ALLEGATIONS
    A.        Bitcoin Mining, Generally

         8.        The acts and omissions involved in the instant case relate to Bitcoin mining.

         9.        Bitcoin is a digital currency that uses blockchain technology to support peer-to-peer

transactions between users on a decentralized network. Bitcoin is money—that can (and does)

thrive without the guarantees of a national central bank.

         10.       Bitcoin is relatively risk free because ownership of the currency is verified and

recorded by a public digital ledger. The ledger perpetually grows as new transactions and

exchanges take place.

                                                     2
                                                                                             EXHIBIT D
                                                                                              PAGE 132
  7:24-cv-03179-TMC              Date Filed 11/13/24      Entry Number 39-4           Page 4 of 58
        7:23-cv-01427-TMC        Date Filed 04/07/23     Entry Number 1        Page 3 of 22




         11.   Bitcoin “miners” maintain and verify the ledger for a fee that is paid in Bitcoin.

         12.   The ledger is maintained and verified, digitally, by mining servers owned or

operated by miners. The servers are continually running complex mathematical equations required

to solve for and publish new blocks of Bitcoin transactions on the ledger.

         13.   Operating the server equipment for Bitcoin mining requires an immense amount of

electrical power. See, generally, infra ¶ 33. Consequently, power supply contracts are paramount

considerations for Bitcoin miners.

         14.   It is common for development companies to prepare sites for cryptocurrency

mining operations, in the same way a real estate development company may prepare unimproved

land for subdivision and sale.

         15.   A development company may contract for the real estate, utility services (primarily

electrical power), and housing for cryptocurrency mining servers, even though the mining servers

may be owned by third parties. Housing in this context often refers to providing mining “pods.”

Pods are, typically, converted shipping containers equipped with cooling, server racking, and

coupling points for utility services. The mining servers are installed in the pods when development

is complete. In this relationship, the owners of the mining servers are the miners that earn a fee

for maintaining and verifying the Bitcoin ledger (not the development company).

   B.     Blockquarry pays Defendant $300,000 for identifying and delivering premises for
          cryptocurrency mining operations on the Utility’s real property.

         16.   Blockquarry is a cryptocurrency mining development company, as described in ¶

15 above. Its primary business purpose is to provide its clients with cryptocurrency mining

development services in the United States.




                                                 3
                                                                                          EXHIBIT D
                                                                                           PAGE 133
  7:24-cv-03179-TMC             Date Filed 11/13/24         Entry Number 39-4           Page 5 of 58
      7:23-cv-01427-TMC          Date Filed 04/07/23      Entry Number 1        Page 4 of 22




        17.     During early October 2021, Blockquarry’s business associates approached the

company with a potential site for new cryptocurrency mining operations. The proposed site was

being offered by Defendant.

        18.     Defendant represented it was offering to lease real property suited for

cryptocurrency mining, as the site was located adjacent to a distribution-level electrical substation.

        19.     The site’s proximity to a substation made it highly attractive to Blockquarry, given

the likelihood that the substation could serve high-demand electrical processes with little need for

additional or supplemental power systems upgrades.

        20.     On or about October 18, 2021, Blockquarry executed a written document, whereby

Defendant purported to sublease real property owned by the Utility to Blockquarry, located at 154

Hyatt Street in Gaffney, Cherokee County, South Carolina (the “Premises”), for the purpose of a

Bitcoin mining operation. The purported sublease is discussed in greater detail infra at § H.

        21.     The Utility owns and operates a distribution-level electrical substation on or

adjacent to the Premises, called the ‘Suez Station.’

        22.     On or about October 18, 2021, Blockquarry executed a written document, whereby

Defendant purported to license to Blockquarry an attractive rate offered by the Utility for electrical

usage and demand consumed on the Premises. 2 The purported license agreement is discussed in

greater detail infra at § I.

        23.     Unknown to Blockquarry—at that time—Defendant had secured the following

agreements relative to the Premises.




        2
          The rate is called an ‘economic development incentive rate’ and is a tool for participating
municipal utilities to offer incentives for new customers with high-demand profiles to enter their
retail service territories.

                                                  4
                                                                                           EXHIBIT D
                                                                                            PAGE 134
  7:24-cv-03179-TMC               Date Filed 11/13/24       Entry Number 39-4           Page 6 of 58
      7:23-cv-01427-TMC            Date Filed 04/07/23     Entry Number 1        Page 5 of 22




               •        On or about September 8, 2021, the Utility and Defendant entered an

        electric service agreement for electrical service for the Premises. The electric service

        agreement is discussed in greater detail infra at § J and provides for the same attractive rate

        provided for in the purported license agreement.

               •        On or about September 28, 2021, the Utility and Defendant entered a ground

        lease for the Premises.

        24.    Blockquarry funded a $300,000 fee paid to Defendant for identifying the Premises

as a Bitcoin mining site. The fee was not paid part and parcel to or as a requirement of the

purported sublease or purported license agreement.

   C.    Blockquarry expends nearly $7.4 million for Bitcoin mining on the Premises.

        25.    Blockquarry funded $1,387,895.20 as a deposit on the Premises’ utility bill (the

“Deposit”). Approximately $1,000,000 this amount was paid by Blockquarry, directly, to the

Utility. The remainder was paid by Blockquarry’s contractor, directly, to the Utility.

        26.    The deposit was required under the electric service agreement between BPW and

Defendant. See infra ¶ 94.

        27.    The Utility remains in possession of the Deposit.

        28.    In addition to the Deposit, Blockquarry paid approximately $6 million to a third

party contractor for:

               •        various improvements to the Premises, including for site clearing and build

        out of the Premises;

               •        the purchase, delivery, and installation of distribution transformers required

        to condition and deliver usable electrical power for Bitcoin mining, and

               •        for the purchase, delivery, and installation of mining pods.


                                                  5
                                                                                            EXHIBIT D
                                                                                             PAGE 135
  7:24-cv-03179-TMC            Date Filed 11/13/24          Entry Number 39-4           Page 7 of 58
      7:23-cv-01427-TMC          Date Filed 04/07/23       Entry Number 1       Page 6 of 22




        29.    Blockquarry owns personal property kept on the Premises, including at least five

distribution transformers, ten mining pods, and Bitcoin mining servers. Blockquarry’s Bitcoin

mining servers are kept in a storage facility on the Premises.

        30.    Additionally, Blockquarry’s clients own personal property kept on the Premises,

including over 5,000 Bitcoin mining servers installed in Blockquarry’s mining pods. Blockquarry

is the bailee of its client’s personal property kept on the Premises.

   D.      Blockquarry mines for Bitcoin on the Premises and pays rent and utility bills
           directly to the Utility.

        31.    Blockquarry (and/or its client(s)) began Bitcoin mining on the Premises during

March 2022.

        32.    Defendant gave Blockquarry’s contractor access to an online portal for

reconciliation and payment of the invoices and bills from the Utility relative to the Premises.

        33.    Blockquarry paid the Utility, directly, over $2.2 million in fees for utility services,

exclusive of the Deposit.

        34.    Blockquarry also paid the Utility, directly, $3,000 in monthly rent payments. See

infra ¶ 73.

        35.    Blockquarry paid the fees for utility services and monthly rent payments by using

the Utility’s website and by making check payments that were overnighted to the Utility.

        36.    Blockquarry understood—and had justifiable reason to believe, given the purported

license agreement—that all money paid by Blockquarry to the Utility was paid for Blockquarry’s

benefit.

        37.    Moreover, the Utility knew Blockquarry was making payments, directly, to the

Utility for utility services and monthly rent.




                                                  6
                                                                                           EXHIBIT D
                                                                                            PAGE 136
  7:24-cv-03179-TMC               Date Filed 11/13/24       Entry Number 39-4          Page 8 of 58
        7:23-cv-01427-TMC          Date Filed 04/07/23     Entry Number 1      Page 7 of 22




         38.      Blockquarry has not paid Defendant any money under the purported sublease or

purported license agreement. All payments have been made by Blockquarry directly to the Utility

or by Blockquarry’s contractor directly to the Utility.

         39.      On information and belief, Defendant has not paid the Utility any money relative

to the Premises.

         40.      On or about April 11, 2022, Blockquarry contracted with a management company

to maintain the Premises and to maintain the Bitcoin mining operations located on the Premises

for a fee of $65,000 per month. 3 Blockquarry paid the management company accordingly.

         41.      Blockquarry also reimbursed the management company for various costs

associated with maintenance.

   E.        Defendant attempts to extort money from Blockquarry.

         42.      Sometime around December 2022, Defendant’s principal, Tony Tate (“Tate”),

determined, apparently, that he was dissatisfied with Defendant’s position relative to Blockquarry

and the Utility.

         43.      Tate changed the administrative credentials to the online payment portal, blocking

Blockquarry and its management company’s access to the Utility’s billing.                Thereafter,

Blockquarry and its management company would have no information relative to the Utility’s

charges for services.

         44.      At the same time, Tate begins delivering Blockquarry erratic, threatening messages

demanding large amounts of money.




         3
             The management company and the contractor discussed in ¶ 28 supra are the same entity.

                                                   7
                                                                                          EXHIBIT D
                                                                                           PAGE 137
  7:24-cv-03179-TMC            Date Filed 11/13/24          Entry Number 39-4           Page 9 of 58
      7:23-cv-01427-TMC          Date Filed 04/07/23       Entry Number 1        Page 8 of 22




       45.     On December 21, 2022, Tate sent Blockquarry an email stating “we revoked” the

purported sublease and license agreements, and that Defendant and/or Tate would “lock down”

the Premises and inform the Utility to stop delivering electrical power to the Premises.

       46.     On December 27, 2022, Tate delivered Blockquarry an email stating “we have

revoked the agreements” and that the purported license agreement is revoked, and demanding

payment of nearly $100,000—an amount which is, purportedly, a “10% Good Faith Deposit.”

       47.     On January 5, 2023, Tate sent Blockquarry an email:

               •       stating “I will be initiating . . . eviction” for, allegedly, not curing alleged

       defaults that Defendant purportedly noticed on December 7, 2022, December 16, 2022,

       and December 27, 2022;

               •       stating Defendant is assessing over $1.4 million against Blockquarry,

       exclusive of administrative fee and penalties, on ground of alleged breaches of the

       purported sublease and purported license agreement;

               •       stating “we will be locking down the site and advising [the Utility] to keep

       the power shut off . . . [;]” and

               •       demanding information from Blockquarry relative to the company’s plan to

       vacate the Premises.

       48.     On January 9, 2023, Tate delivered Blockquarry and email claiming that over

$157,000.00 is past due and owing for utility services and $2,899 is past due and owing for rent

payments under the purported sublease.         The email provided the Utility’s ACH payment

information and demanded that Blockquarry make payment to the Utility.




                                                  8
                                                                                            EXHIBIT D
                                                                                             PAGE 138
 7:24-cv-03179-TMC            Date Filed 11/13/24         Entry Number 39-4           Page 10 of 58
        7:23-cv-01427-TMC       Date Filed 04/07/23       Entry Number 1       Page 9 of 22




         49.   On January 10, 2023, Tate delivered Blockquarry an email stating, among other

things, he considers the Premises abandoned—due, apparently, to “nonpayment of bills”—and that

“we’re moving forward with eviction.”

         50.   On January 19, 2023, Tate delivered Blockquarry an email accusing Blockquarry

of a material breach; claiming that the “total amount of indebtedness accrued by [Blockquarry] for

non-payment and failing to perform as agreed is $1,879,304.61[;]” and demanding a half payment

on a total amount of $995,767.20 to avoid eviction.

         51.   The same email claims $883,537.41 is due and payable to the Utility, despite that

Tate claimed days earlier that a mere $157,000.00 was past due and owning for utility services.

         52.   Defendant has refused and continues to refuse to substantiate claims levied in its

correspondence (with documents or otherwise), notwithstanding requests from Blockquarry.

         53.   Defendant’s conduct—e.g., demanding the payment of nearly two million dollars

in exchange for Defendant’s avoidance of legal process it has no entitlement to pursue—is

extortion.

         54.   Blockquarry is not indebted to Defendant and owes no duty of performance to

Defendant.

   F.     The Utility stops electrical service to the Premises; refuses to return the Deposit to
          Blockquarry; and locks Blockquarry out of the Premises.

         55.   During January 2023, the Utility stopped electrical service to the Premises.

         56.   On January 9, 2023, the Utility delivered a letter to Defendant advising it cutoff the

Premises’ electricity for nonpayment; identifying Defendant’s defaults under the September 23

ground lease and stating “[the Utility] did not approve of or consent to sublease” to Blockquarry.

         57.   Sometime after February 16, 2023, the Utility padlocked the Premises, blocking

any physical access to the Premises for Blockquarry (and, presumably, any other third party).

                                                 9
                                                                                          EXHIBIT D
                                                                                           PAGE 139
 7:24-cv-03179-TMC            Date Filed 11/13/24         Entry Number 39-4          Page 11 of 58
     7:23-cv-01427-TMC          Date Filed 04/07/23      Entry Number 1       Page 10 of 22




        58.    The Utility has refused and continues to refuse to return the Deposit to Blockquarry,

despite demand from .

        59.    The Utility informed Blockquarry it will return the Deposit paid by Blockquarry to

its customer—i.e., Defendant—not to Blockquarry.

        60.    The Utility further informed Blockquarry it will return the Deposit paid by

Blockquarry to Litchain before April 14, 2023.

        61.    Since the Utility has discontinued electrical and other utility services on the

Premises and has never turned the power back on, the Utility has no need, requirement, or right to

retain the Deposit paid by Blockquarry.

   G.    Litchain attempts to evict Blockquarry and dupe the Utility into returning the
         Deposit to Litchain.

        62.    On or about February 3, 2023, Litchain caused an eviction action to be filed against

Blockquarry relative to the Premises in the Magistrate Court of Cherokee County, South Carolina

(bearing case number 2023CV1110100285) (the “Eviction Action”). The rule to vacate filed in

the Eviction Action is attached hereto as Exhibit A and sworn to by Defendant’s counsel.

        63.    Blockquarry opposed the eviction and demanded a jury trial.

        64.    On or about March 13, 2023, the Utility delivered a letter to Defendant stating,

“Effective immediately, the Lease is terminated[]” (emphasis in original), and stating that future

access of the Premises by Litchain will be treated as a trespass.

        65.    On March 14, 2023, Litchain delivered an email to the Utility’s counsel requesting

that the Utility cut a check for the Deposit to Litchain and provided the company’s address for

delivery of the same.

        66.    Litchain’s March 14, 2023 was an unlawful attempt to convert the Deposit for

Litchain’s improper use.

                                                 10
                                                                                         EXHIBIT D
                                                                                          PAGE 140
  7:24-cv-03179-TMC               Date Filed 11/13/24        Entry Number 39-4           Page 12 of 58
     7:23-cv-01427-TMC            Date Filed 04/07/23      Entry Number 1       Page 11 of 22




   H.       Terms of the Purported Sublease between Blockquarry and Defendant

        67.       A true and correct copy of the written agreement purporting to convey a sublease

for the Premises is attached hereto as Exhibit B. The agreement is hereinafter cited as “Ex. B.”

        68.       The agreement references a ‘master lease’ between the Utility and Defendant—

dated September 23, 2021—for the Premises and represents and warrants Defendant was able to

convey a leasehold interest in the Premises. (Ex. B §§ A., 2.13, and 15.8.)

        69.       The agreement is subordinate to the purported ‘master lease’ and incorporates its

terms and conditions. (Ex. B §§ 2.1. and 2.2.)

        70.       The agreement is “conditioned upon the consent . . . by [the Utility,] which consent

shall evidenced by [the Utility’s] signature appended hereto or a separate consent . . . .” (Ex. B §

1.4.) The agreement further provides Blockquarry and/or Defendant may cancel the agreement

upon written notice, in the event Defendant does not receive the Utility’s consent. (Id.)

        71.       The purported sublease is terminated in the event the ‘master lease’ is terminated.

(Ex. B §§ 2.3.)

        72.       The term of the purported sublease is approximately eight years, commencing upon

the later of October 1, 2021 and the Utility’s consent, and expiring on September 30, 2029. (Ex.

B § 1.4.)

        73.       The agreement requires Blockquarry to pay rent in the amount of $3,000 per month.

(Ex. B § 1.1.(b).)

        74.       The agreement requires Defendant to produce to Blockquarry notices provided to

Defendant from the Utility. (Ex. B § 2.11.)

        75.       The agreement provides that South Carolina law controls. (Ex. B § 15.7.)

        76.       The agreement was drafted by Defendant.



                                                   11
                                                                                             EXHIBIT D
                                                                                              PAGE 141
  7:24-cv-03179-TMC               Date Filed 11/13/24         Entry Number 39-4          Page 13 of 58
            7:23-cv-01427-TMC      Date Filed 04/07/23       Entry Number 1      Page 12 of 22




             77.   Except for the terms provided above, the agreement is ambiguous and unclear. It

is unusually verbose and difficult to decipher and appears to contain elements of a pro forma

document that were not edited or removed for purposes of the instant transaction. (See, e.g., Ex.

B § 2.7.)

             78.   Adding to the confusion, the purported sublease devotes pages of terms that were

waived by Defendant. (See, e.g., Ex. B at Article VIII [Security].)

       I.      Terms of the Purported License Agreement between Blockquarry and Defendant

             79.   A true and correct copy of the written agreement purporting to convey a license for

the use of an ‘economic development incentive rate’ is attached hereto as Exhibit C. The

agreement is hereinafter cited as “Ex. C.”

             80.   This is the same rate referred to in ¶ 22 above.

             81.   The agreement references a “special agreement with Gaffney Board of Public

Works’ (the Utility)” along with the applicable rate schedule and purports to convey “a revocable

license for the use of the benefits of the [agreement with the Utility].” (Ex. C § 2.) This references

the electrical service agreement between the Utility and Defendant, which is discussed further infra

§ J.

             82.   The term of the agreement is five years or until the purported license is revoked by

Defendant. (Id.) Revocation by Defendant requires sixty-days’ notice. (Id.)

             83.   The agreement purports to eliminate a claim for damages arising from termination

of the purported license. (Id.)

             84.   The agreement does not require or otherwise demand the exchange of any payment.

(Ex. C § 3.)




                                                    12
                                                                                             EXHIBIT D
                                                                                              PAGE 142
 7:24-cv-03179-TMC              Date Filed 11/13/24         Entry Number 39-4           Page 14 of 58
       7:23-cv-01427-TMC         Date Filed 04/07/23       Entry Number 1        Page 13 of 22




           85.   The agreement requires Blockquarry to remit special benefit payments received to

the Utility. (Ex. C § 5.)

           86.   Curiously, the agreement also purports to convey an interest in real estate—

presumably, the Premises. (Ex. C § 6.)

           87.   The agreement provides for attorneys’ fees to the prevailing party while enforcing

the agreement. (Ex. C § 10.)

           88.   The agreement provides that South Carolina law controls. (Ex. C § 12.)

           89.   The agreement was drafted by Defendant and thereafter provided to Blockquarry.

           90.   Except for the terms provided above, the agreement is ambiguous and unclear. It

contains, among other things, several incomplete sentences. (See, e.g., Ex. C § 6.)

      J.    Terms of the Electrical Service Agreement between Defendant and the Utility

           91.   A true and correct copy of the written agreement for electrical service by the Utility

to serve the Premises is attached hereto as Exhibit D. The agreement is hereinafter cited as “Ex.

D.”

           92.   According to the electrical service agreement the Premises are to take electrical

service under the Utility’s ‘economic development incentive rate’ and ‘credit for new loads,’

provided that the Premises’ peak demand exceeds 750 kilowatts. (Ex. D p. 12, § 2.1.)

           93.   The term of the agreement is for eight years. (Ex. D § 4.1.)

           94.   The agreement requires a deposit equal to the Premises “two highest month utility

bill average.” (Ex. D § 7.1.)

           95.   The agreement states, “[Defendant] is choosing to provide it own distribution

transformers (2500 KVA/416 v).” (Ex. D § 6.3.)




                                                  13
                                                                                            EXHIBIT D
                                                                                             PAGE 143
  7:24-cv-03179-TMC            Date Filed 11/13/24         Entry Number 39-4            Page 15 of 58
     7:23-cv-01427-TMC          Date Filed 04/07/23       Entry Number 1        Page 14 of 22




       96.     These are the distribution transformers purchased, delivered, and installed by

Blockquarry on the Premises. See supra ¶ 28.

                                             COUNT 1
REQUEST FOR DECLARATORY JUDGMENT RELATIVE TO THE DEPOSIT, THE
PERSONAL PROPERTY ON THE PREMISES, AND ALLEGED INDEBTEDNESS TO
DEFENDANT AND THE UTILITY
                                 (As to Defendant and the Utility)

       97.     Blockquarry alleges and incorporates herein by this reference the allegations

contained in paragraphs 1 through 96 above.

       98.     This is an action under 28 U.S.C.A. §§ 2201 and 2202 to resolve a case and

controversy by and between Blockquarry, Defendant, and the Utility (collectively, the “Parties”).

       99.     There is a case of actual, justiciable controversy between the Parties—that is

substantial, definite, and concrete—relative to: (i) the Deposit paid by Blockquarry, (ii)

Blockquarry’s personal property on the Premises, and (iii) real improvements made by

Blockquarry to the Premises (to the extent they are not fixtures). Blockquarry enjoys a legally

protected interest with respect to these matters.

       100.    The threat of an injury in fact to Blockquarry—if these issues are not resolved by

the Court issued declaratory relief—is actual and imminent, not conjectural or hypothetical.

       101.    A declaratory judgment in the instant case will be useful; there is a sufficient

practical need for it; and the judgment will finally determine the rights of the Parties.

       102.    The Deposit belongs to Blockquarry and should be returned immediately to

Blockquarry.

       103.    Defendant’s attempted extortion of Blockquarry and conversion of the Deposit,

among other conduct, demonstrates that—if the Deposit is returned to Defendant—Defendant will

either abscond with the cash or use it to continue exploiting Blockquarry.


                                                    14
                                                                                            EXHIBIT D
                                                                                             PAGE 144
 7:24-cv-03179-TMC            Date Filed 11/13/24        Entry Number 39-4          Page 16 of 58
     7:23-cv-01427-TMC         Date Filed 04/07/23      Entry Number 1       Page 15 of 22




       104.    Blockquarry maintains the personal property on the Premises valued at well over

$1 million. See supra ¶¶ 28-29.

       105.    Blockquarry improved the Premises by inter alia installing distribution

transformers required to condition electrical power for Bitcoin mining.

       106.    Blockquarry does not have an adequate remedy at law with respect to the Deposit

paid by Blockquarry, the maintenance and protection of Blockquarry’s personal property,

including the distribution transformers.

       WHEREFORE Blockquarry requests this Court enter judgment:

               A.      declaring Blockquarry is the rightful owner of the Deposit paid by

       Blockquarry;

               B.      declaring Blockquarry is the rightful owner of its personal property on the

       Premises, including the Bitcoin mining pods, the distribution transformers, and other

       personal property not affixed to the Premises;

               C.      declaring Blockquarry caused and paid for real improvements to be affixed

       to the Premises;

               D.      declaring Blockquarry is not indebted to Litchain for any amount of money

       or other obligation;

               E.      declaring Blockquarry is not indebted to the Utility for any amount of

       money or other obligation;

               F.      taxing against Defendant Blockquarry’s attorneys’ fees and costs under 28

       U.S.C.A. § 2202 and S.C. CODE ANN. § 15-53-100; and

               G.      awarding any other relief the Court deems appropriate.




                                                15
                                                                                        EXHIBIT D
                                                                                         PAGE 145
 7:24-cv-03179-TMC            Date Filed 11/13/24        Entry Number 39-4           Page 17 of 58
     7:23-cv-01427-TMC         Date Filed 04/07/23      Entry Number 1       Page 16 of 22




                                           COUNT 2
    DECLARATORY JUDGMENT RELATIVE TO THE PURPORTED SUBLEASE
                                        (As to Defendant)

       107.    Blockquarry alleges and incorporates herein by this reference the allegations

contained in paragraphs 1 through 96 above.

       108.    This is an action under 28 U.S.C.A. §§ 2201 and 2202 to resolve a case and

controversy by and between Blockquarry and Defendant.

       109.    There is a case of actual, justiciable controversy between Blockquarry and

Defendant—that is substantial, definite, and concrete—with respect to the rights and obligations

flowing from the purported sublease. Blockquarry enjoys a legally protected interest relative to

the money paid and other obligations it incurred by way of the purported sublease.

       110.    The threat of an injury in fact to Blockquarry—if these issues are not resolved by

the Court issued declaratory relief—is actual and imminent, not conjectural or hypothetical.

       111.    A declaratory judgment in the instant case will be useful; there is a sufficient

practical need for it; and the judgment will finally determine the rights between Blockquarry and

Defendant, generally, and with respect to money paid and other obligations it incurred by way of

the purported sublease.

       112.    The purported sublease is void, voidable, and further unenforceable because,

among other reasons, Defendant cancelled, terminated, and revoked the purported sublease;

Defendant never had the Utility’s consent for the purported sublease, despite Defendant’s

representations otherwise; and the Utility cancelled, terminated, and revoked the master lease with

Defendant.




                                                16
                                                                                        EXHIBIT D
                                                                                         PAGE 146
 7:24-cv-03179-TMC             Date Filed 11/13/24        Entry Number 39-4          Page 18 of 58
     7:23-cv-01427-TMC          Date Filed 04/07/23      Entry Number 1       Page 17 of 22




       WHEREFORE Blockquarry requests this Court enter judgment:

               1.       declaring that purported sublease is void, voidable, and further

       unenforceable;

               2.       taxing against Defendant Blockquarry’s attorneys’ fees and costs under 28

       U.S.C.A. § 2202 and S.C. CODE ANN. § 15-53-100; and

               3.       awarding any other relief the Court deems appropriate.

                                            COUNT 3
DECLARATORY           JUDGMENT          RELATIVE       TO     THE     PURPORTED         LICENSE
AGREEMENT
                                         (As to Defendant)

       113.    Blockquarry alleges and incorporates herein by this reference the allegations

contained in paragraphs 1 through 96 above.

       114.    This is an action under 28 U.S.C.A. §§ 2201 and 2202 to resolve a case and

controversy by and between Blockquarry and Defendant.

       115.    There is a case of actual, justiciable controversy between the Parties—that is

substantial, definite, and concrete—with respect to the rights and obligations flowing from

purported license agreement. Blockquarry enjoys a legally protected interest relative to the money

paid and other obligations it incurred by way of the purported license agreement.

       116.    The threat of an injury in fact to Blockquarry—if these issues are not resolved by

the Court issued declaratory relief—is actual and imminent, not conjectural or hypothetical.

       117.    A declaratory judgment in the instant case will be useful; there is a sufficient

practical need for it; and the judgment will finally determine the rights of the Parties, generally,

and with respect to money paid and other obligations incurred by way of the purported license

agreement.



                                                17
                                                                                         EXHIBIT D
                                                                                          PAGE 147
 7:24-cv-03179-TMC              Date Filed 11/13/24         Entry Number 39-4         Page 19 of 58
     7:23-cv-01427-TMC           Date Filed 04/07/23       Entry Number 1      Page 18 of 22




       118.    The purported license is void, voidable, and further unenforceable because, among

other reasons, it is not supported by consideration and the purported license agreement precludes

a claim for damages. Moreover, Defendant cancelled, terminated, and revoked the purported

license agreement; Defendant never had the Utility’s consent for the purported license agreement;

and the Utility cancelled, terminated, and revoked the electrical service agreement between the

Utility and Defendant.

       WHEREFORE Blockquarry requests this Court enter judgment:

               A.        declaring the purported license agreement is void, voidable, and further

       unenforceable;

               B.        taxing against Defendant Blockquarry’s attorneys’ fees and costs under 28

       U.S.C.A. § 2202 and S.C. CODE ANN. § 15-53-100; and

               C.        awarding any other relief the Court deems appropriate.

                             REQUEST FOR INJUNCTIVE RELIEF

                                  (As to Defendant and the Utility)

       119.    Blockquarry incorporates by this reference all the other allegations contained in this

Complaint.

       120.    Blockquarry seeks injunctive relief from the Court requiring the Utility and/or

Defendant to return—to Blockquarry—the Deposit and personal property on the Premises.

       121.    Blockquarry demonstrated a likelihood of success on the merits as to the foregoing

claims for relief, based on the allegations set forth in this pleading.

       122.    Blockquarry is without an adequate remedy at law relative to the return of the

Deposit and personal property on the Premises for and among other reasons it is the bailiff of some

of the personal property on the Premises



                                                  18
                                                                                          EXHIBIT D
                                                                                           PAGE 148
 7:24-cv-03179-TMC             Date Filed 11/13/24         Entry Number 39-4           Page 20 of 58
     7:23-cv-01427-TMC          Date Filed 04/07/23       Entry Number 1       Page 19 of 22




       123.    Blockquarry will suffer immediate and irreparable harm if the Deposit is not

returned, if the Deposit is returned to Litchain, and if the personal property on the Premises is not

returned to Blockquarry. This is evidence by, among other reasons, the Eviction Action and

attempt to convert Blockquarry’s Deposit.

       124.    No harm will be suffered from the issuance of an injunction, as requested herein.

       125.    Greater harm will be suffered by Blockquarry if injunctive relief is not granted.

The balance of equities tip in Blockquarry’s favor.

       126.    Granting the injunctive relief is in the public interest.

       WHEREFORE Blockquarry requests this Court enter judgment:

               A.      requiring the Utility and/or Defendant to immediately return to Blockquarry

       the Deposit;

               B.      enjoining the Utility from returning the Deposit to Litchain;

               C.      requiring the Utility and/or Defendant to immediately return to Blockquarry

       the personal property on the Premises, including the Bitcoin mining pods, the distribution

       transformers, and other personal property not affixed to the Premises

               D.      enjoining the Utility from returning the personal property on the Premises

       to Litchain;

               E.      taxing against Defendant Blockquarry’s attorneys’ fees and costs; and

               F.      awarding any other relief the Court deems appropriate.

                                             COUNT 4
                                    WRONGFUL EVICTION
                                         (As to Defendant)

       127.    Blockquarry alleges and incorporates herein by this reference the allegations

contained in paragraphs 1 through 96 above.


                                                 19
                                                                                           EXHIBIT D
                                                                                            PAGE 149
 7:24-cv-03179-TMC             Date Filed 11/13/24        Entry Number 39-4           Page 21 of 58
     7:23-cv-01427-TMC          Date Filed 04/07/23      Entry Number 1        Page 20 of 22




       128.    The Eviction Action is wrongful and unlawful on the following grounds:

               •       by causing a breach of the purported master lease;

               •       by not providing requisite notice, including notices produced by the Utility;

               •       by refusing to provide information relative to the master lease;

               •       by interfering with Blockquarry’s quiet enjoyment of the Premises;

               •       by failing to achieve and not achieving the Utility’s consent with the

       sublease;

               •       by representing and warranting Defendant could lawfully enter the sublease,

       while not enjoying the Utility’s consent to the sublease; and

               •       by blocking Blockquarry’s access to the online portal for payment of rent

       and utility fees; and

               •       by instructing the Utility to cut off the power; and

               •       by instructing the Utility not to communicate with Blockquarry.

       129.    The Eviction Action caused Blockquarry damages.

       WHEREFORE Blockquarry requests this Court enter judgment against the Defendant for

damages or, alternatively, damages, costs, and any other relief the Court deems appropriate.

                                            COUNT 5
                                     ABUSE OF PROCESS
                                         (As to Defendant)

       130.    Blockquarry alleges and incorporates herein by this reference the allegations

contained in paragraphs 1 through 96 above.

       131.    Defendant’s filing of the eviction action (see supra ¶ 62) relative to Blockquarry’s

use of the Premises is a misuse of the legal system for an ulterior purpose that is not proper in the

regular conduct of the proceeding.

                                                 20
                                                                                          EXHIBIT D
                                                                                           PAGE 150
 7:24-cv-03179-TMC            Date Filed 11/13/24          Entry Number 39-4         Page 22 of 58
     7:23-cv-01427-TMC         Date Filed 04/07/23       Entry Number 1       Page 21 of 22




       132.    Defendant had no legal or equitable right to attempt to evict Blockquarry from the

Premises. Defendant knew at the time it filed the eviction action, among other things: (i) that the

Utility had never consented to the purported sublease; (ii) that Defendant had never once paid for

rent under the master lease; (iii) that Defendant had never once paid for electrical service under

the electric service agreement; (iv) that Blockquarry paid the Deposit; (v) that the Utility had

delivered Defendant notice that it would terminate the master lease; and (vi) that Defendant had

purportedly terminated the purported sublease.

       133.    Defendant has further maintained the eviction action notwithstanding that the

Utility terminated the master lease. See supra ¶ 64.

       134.    Defendant filed the eviction action and has maintained the same action primarily to

accomplish a purpose for which it is not designed, namely, to coerce the achievement of a collateral

advantage—i.e., to continue to unlawfully attempt to extort money from Blockquarry and to

convert the Deposit to its own improper use, among other things.

       135.    Defendant’s abuse of process caused Blockquarry damages.

       136.    Blockquarry anticipates amended the instant complaint to allege a cause of action

for malicious prosecution if and when the eviction action is dismissed in Blockquarry’s favor.

       WHEREFORE Blockquarry requests this Court enter judgment against the Defendant for

damages or, alternatively, damages, costs, and any other relief the Court deems appropriate.

                                        JURY DEMAND

       Blockquarry requests a jury trial on all issues so triable.




                                                 21
                                                                                         EXHIBIT D
                                                                                          PAGE 151
7:24-cv-03179-TMC        Date Filed 11/13/24        Entry Number 39-4      Page 23 of 58
      7:23-cv-01427-TMC       Date Filed 04/07/23    Entry Number 1     Page 22 of 22




                                   Respectfully submitted,

 April 7, 2023                               FOX ROTHSCHILD LLP

                                            2 W. Washington Street
                                            Suite 1100
                                            Greenville, SC 29601
                                            Tel: 864.751.7600

 Greenville, South Carolina                 /s/ R. Taylor Speer
                                            R. Taylor Speer
                                            Federal ID# 12267
                                            tspeer@foxrothschild.com

                                             William A. Neinast
                                             Federal ID# 13172
                                             wneinast@foxrothschild.com

                                            Attorneys for Blockquarry Corp. f/k/a ISW
 144394496                                  Holdings, Inc.




                                             22
                                                                              EXHIBIT D
                                                                               PAGE 152
                   7:24-cv-03179-TMC                 Date Filed 11/13/24                     Entry Number 39-4                      Page 24 of 58

                           7:23-cv-01427-TMC
                           7:23-cv-01427-TMC               Date Filed
                                                           Date Filed 04/07/23
                                                                      04/07/23.               Entry Number
                                                                                              Entry Number 1-1
                                                                                                           1-1                 Page 1
                                                                                                                               Page 1 of
                                                                                                                                      of 2
                                                                                                                                         2


                  « OF SOUTH CAROLINA                            )                          2023CV 1110100285
       a                                                         )                        CIVIL CASE NUMBER
            OUNTY OF CHEROKEE                                    )                       MAGISTRATE’S COURT
                                                                 )            RULE TO VACATE OR SHOW CAUSE (EVICTION)

     Litchain Corporation
     145 N. Church Street
     Spartanburg, SC 29306                                                        Phone:
                                                                                                                                             PLAINTIFF(S)
     Vs
     Blockquarry F/K/A Isw Holdings Inc
     RA - Paracorp In
     150 Hyatt Street




                                                                                                                                              4 £202
     Gaffney, SC 29340                                                                                      Phone:
                                                                                                                                        DEFENDANTS
     TO Blockquarry F/K/A Isw Holdings Inc RA - Paracorp Inc: Litchain Corporation is asking this a                                          tojeviet you.
     from the property located at because they claim that:
                  & You have failed to pay rent when due or demanded in the amount of $5,874.00.                                              Ea
                  0) The terms of your tenancy or occupancy have ended.                                                                 2     =
                  & You have violated the terms or conditions of your lease by: see attached                                           ,
 You the defendant(s) and lessee(s) of the premises listed at the address listed above, and alll otherssare ordered
 to vacate the premises immediately pursuant to S.C. Code Ann. §27-37-10 OR contact the:
                 Cherokee County Magistrate
                         312 East Frederick Street
                         Gaffney, SC 29340
                 (864) 487-2533
within ten (10) days of receiving this notice, for the purpose of scheduling a hearing to show why you should not be
evicted from these premises.
FAILURE TO VACATE THE PREMISES OR RESPOND WITHIN/TEN (10),DAYS MAY RESULT IN THE
ISSUANCE OF A WRIT OF EJECTMENT.                                               bl

02/03/2023                                                           Judge, Cherokee       County Magistrate

Personally appeared before me, the undersigned deponent, being duly sworn, , says s/he is a person over 18 years of age, not a party or attorney in this action
and s/he to serve the Ruie to Vacate or Show Cause on Blockquarry F/K/A Isw Holdings Inc RA - Paracorp In                 on the following dates/times:
           DATE      TIME __ INITIALS                DATEOF SERVICE _.2-4-23                            timeorservice            OF!
                                                                                                                                   20 |
1. 2-623             (20          RY);               SETTLED/DATE                                      VACANTIDATE
2.                                                           PERSON SERVED & RELATIONSHIP IF NOT DEFENDANT

3.

     Sworn to and subscribed before me
     This              day of               » 20


     NOTARY PUBLIC OR JUDGE                                             SIG        RE OF SERVER
     ON_                        I DEPOSITED IN THE UNITED STATES MAIL             ¥ ENVELOPE ADDRESSED TO THE DEFENDANT(S) ABOVE WITH FIRST
     CLASS POSTAGEAFFIXED THERETO, A COPY OF THIS DOCUMENT

                                                                     __ MAGISTRATE’S CLERK




MvV220
3CCA/733A (Amended 11/2019)

                                                                                                    EXHIBIT
                                                                                                    EXHIBIT A
                                                                                                            A to
                                                                                                              to Blockquarry
                                                                                                                 Blockquarry Compl.
                                                                                                                             Compl.
                                                                                                                                            EXHIBIT D
                                                                                                                                             PAGE 153
         7:24-cv-03179-TMC                    Date Filed 11/13/24                                             Entry Number 39-4              Page 25 of 58

                       7:23-cv-01427-TMC
                       7:23-cv-01427-TMC               Date Filed
                                                       Date Filed 04/07/23
                                                                  04/07/23.                                    Entry Number
                                                                                                               Entry Number 1-1
                                                                                                                            1-1          Page 2
                                                                                                                                         Page 2 of
                                                                                                                                                of 2
                                                                                                                                                   2




                                                                                  )                            2023 Ile
                                                                                  )                                      CIVIL CASENUMBE=R               —
         STATE OF SOUTH CAROLINA                                              )
                                                                              )                                 IN THE MAGISTRATE’S C™OURT
         COUNTY OF _ (\ngynreg,                                               )
                       .    .                                                 )
                   Liithain       _( Dy Oovadi0N                              )
                                                      PLAINTIFF(S) _ )
                                                  .                  )                                                    APPLICATION FOR.
                                    VS.                              )                                                       EJECTMENT
                                                         ;                )                                                     (Eviction)
                                                                     U )
                                             DEFENDANT(S)                )
               1,_ _       tdhain Crmoration                             , plaintiff in this action, state that 1am the
     landlord-lessor of premises within the jurisdiction of Magistrate
                                                                                                                          POW
    which is described as: (address and description of premises - apartme
                                                                          nt, house, etc.)

                                      Med_Hyait Siwer                                     (Oinyscal                     oddtas of ‘buciness)
                                    aMPou So 2434p
   I further state that, with regard to the above-described premises, a landlor
                                                                                d-tenant relationship
   exists between myself and the defendant,
                                                                                    , the tenant-lessee,
   as eviden   ced by the following: (Attach lease papers or other written proof.)
                                           2 Office Dork Coutt+e
                                           COlUMwIa          SO    24,
  Grounds for this ejectment  are one or more of the following:
         (ViThe tenant fails or refuses to pay the rent when due or when
                                                                         demanded in the amount
         of    $_& . S4-00     _; or
             {|The term of tenancy or occupancy has ended; or
             [_]The terms or conditions of the lease have been violated as follows:
                                                                                                                                OSSWiGted
 JaSt_dile. deingunt them                    charac . odditi                                           ived      Losi
 —ieacin_of lease arent
  Sworn to before me                                                                  )
  this       gra           dey of (Pelosunny                 ,    2673)
         .
  GLinraoobe Unrelpuinl                                                           )
                                                                                      )
                                                                                                              Mv lael Aree
  Magistrate or Notary Public for South Carolina                                  ) PLAINTIFF                            (or his attorney/agent)
 My Commission expires
                                                                                  )                           LGC         MVM. Cheyle
                                            a) ln0Z0                              )                   Address
                                              i
                                                                              )                                                               Z
                                                                             ) (eet) UNE                                                      O03
                                                                                                      City/Stfite/Zi

                                                                          ) Phone Number
                                                                                                                  EXHIBIT
                                                                                                                  EXHIBIT A
                                                                                                                          A to
                                                                                                                            to Blockquarry
                                                                                                                               Blockquarry Compl.
                                                                                                                                           Compl.
SCCA/732 (Amended               11/2019)
                                                                                                                                                   EXHIBIT D
                                                                                                                                                    PAGE 154
7:24-cv-03179-TMC                    Date Filed 11/13/24                       Entry Number 39-4                                 Page 26 of 58

         7:23-cv-01427-TMC
         7:23-cv-01427-TMC                Date Filed
                                          Date Filed 04/07/23
                                                     04/07/23.                 Entry Number
                                                                               Entry Number 1-2
                                                                                            1-2                        Page 1
                                                                                                                       Page 1 of
                                                                                                                              of 23
                                                                                                                                 23




                                    SUBLEASE BETWEEN LITCHAIN CORP.,
    AS SUBLANDLORD AND                        'SW Holdings Inc                               AS SUBTENANT SUBLEASE
              SUBLEASE made as of the 18th                         day of October               —_,: 2021 (this "Sublease"), by and
   between LITCHAIN CORP., a Florida corporation having an address at 3415 W Lake Mary Blvd,
   Suite      950702,     Lake    Mary     Florida     32795       ("Sublandlord"),               and      !SW Holdings Inc                   , a
   a Nevada corporation                    having     an office    at   70° Louisiana St, Suite 3950, Houston Texas 77002    ("Subtenant").


                                                      WITNESSETH:
  WHEREAS:
         A. By lease dated 23"! Of September 2021 (the "Master Lease"), Gaffney Board Of Public
            Works (the "Master Landlord") leased to Sublandlord certain space (the "Premises") in
            the property known as the Suez Station aka 154 Hyatt Street Gaffney SC29340 as more
            particularly described in the Master Lease. A true copy of the Master Lease has been
              delivered    to    Subtenant,    from    which       certain     economic          terms       which          do   not relate    to
              Subtenant's obligations hereunder have been deleted.
         B.   Sublandlord and Subtenant desire to consummate a subleasing of a portion consisting of
              2.93 acres of the Premises (the "Subleased Premises"), shown cross hatched on Exhibit A
              attached hereto, on the terms and conditions contained in this Sublease.
         C. Capitalized terms used herein without definition which are defined in the Master Lease
            shall have the same meaning herein as given to such terms in the Master Lease.
  NOW, THEREFORE, in consideration of the mutual covenants and agreements hereinafter
  contained, it is hereby agreed as follows:

                    ARTICLE I. SUBLEASED PREMISES, TERM AND FIXED RENT.
  1.1.
              (a)   Sublandlord hereby leases to Subtenant and Subtenant hereby hires from Sublandlord
                    the Subleased Premises, for a term (the "Sublease Term") to commence upon the later
                    of (i) October 1, 2021, and (ii) Sublandlord's receipt of Master Landlord's written
                    consent      to the   Sublease     (the      "Sublease      Commencement                 Date"),         and   to end     on
                    September 30, 2029 or on such earlier date on which this Sublease may be cancelled
                    or terminated pursuant to any of the provisions of this Sublease or the Master Lease
                    or pursuant to law (the "Sublease Expiration Date"). At Sublandlord's request,
                    Subtenant shall execute and deliver to Sublandlord a letter setting forth the Sublease
                    Commencement Date. Any failure of the parties to execute such letter agreement
                    shall not affect the validity of the Sublease Commencement Date as fixed in
                    accordance with the applicable provisions of this Sublease.
              (b)   Subtenant shall pay on behalf of Sublandlord the fixed rent (the "Fixed Rent") as set
                    forth on Exhibit B attached hereto and made a part hereof to Sublandlord:
                    if by mail at:




                                                                                        EXHIBIT
                                                                                        EXHIBIT B
                                                                                                B to
                                                                                                  to Blockquarry
                                                                                                     Blockquarry Compl.
                                                                                                                 Compl.
                                                                                                                                     EXHIBIT D
                                                                                                                                      PAGE 155
7:24-cv-03179-TMC                 Date Filed 11/13/24           Entry Number 39-4              Page 27 of 58

          7:23-cv-01427-TMC
          7:23-cv-01427-TMC          Date Filed
                                     Date Filed 04/07/23
                                                04/07/23.       Entry Number
                                                                Entry Number 1-2
                                                                             1-2          Page 2
                                                                                          Page 2 of
                                                                                                 of 23
                                                                                                    23




                   Litchain Corp
                   3415 W Lake Mary Blvd
                   Suite 950702
                   Lake Mary, FL 32795


                   in advance in equal monthly installments as set forth on Exhibit B, without prior
                   demand, offset, abatement or deduction, on or before the first day of each month
                   during the Sublease Term, commencing on the Sublease Commencement Date (the
                   "Rent Commencement Date"). Notwithstanding the foregoing, one (1) calendar
                   month's Fixed Rent shall be paid by Subtenant to Sublandlord upon Subtenant's
                   execution hereof, and be applied to the first Fixed Rent payable hereunder for the first
                   full calendar month after the month in which the Rent Commencement Date occurs.
             (c)   Ifthe Rent Commencement Date occurs on a day other than the first day of a month,
                   Fixed Rent from such day through the last day of the then calendar month shall be
                   prorated on a per diem basis and shall be payable, in advance, on or before the Rent
                   Commencement Date.
   1.2.
             (a)   Subtenant shall also pay to Sublandlord, as Additional Rent (as hereinafter defined)
                   under this Sublease,   effective as of the Sublease     Commencement      Date, all other
                   additional rent and other charges       payable   by   Sublandlord   to Master   Landlord
                   pursuant to the Master Lease, including, without limitation, (i) for work, utilities,
                   services and/or labor provided to the Subleased Premises by Master Landlord during
                   any time that is not normal business hours, or (ii) in excess of work, services, utilities
                   and/or labor provided for in the Master Lease to be without charge or fee to the
                   Subleased Premises, or (iii) at the request of Subtenant or otherwise pertaining solely
                   to the Subleased Premises, or (iv) with respect to alterations to the Subleased
                   Premises by or for the account of Subtenant, or (v) charges for utilities provided to
                   the Subleased Premises, but excluding from the provisions of this sentence Escalation
                   Rent (as defined in Article IV hereof) payable pursuant to the Master Lease.
             (b)   The cost of electric energy is not included in the Fixed Rent payable hereunder.
                   Commencing on the Sublease Commencement Date, Subtenant shall pay for
                   electricity, by payment directly to the local utility service providing such energy as
                   provided in the Master Lease.
             (c)   All rent (other than Fixed Rent) and other sums payable by Subtenant pursuant to this
                   Sublease,   including, without limitation, Electric Charges     and Sublease Escalation
                   Rent (as hereinafter defined) (collectively, "Additional Rent") shall be paid within
                   five (5) days after Subtenant's receipt of the bill therefor, without offset, abatement
                   or deduction.
  1.3.       If Subtenant shall default in the payment of any sums due under Section 1.2 hereof or of
             any Sublease Escalation Rent or any other Additional Rent, Sublandlord, in addition to any
             other right or remedy, shall have the same rights and remedies as in the case of a default
             by Subtenant in the payment of Fixed Rent.




                                                                      EXHIBIT
                                                                      EXHIBIT B
                                                                              B to
                                                                                to Blockquarry
                                                                                   Blockquarry Compl.
                                                                                               Compl.
                                                                                                    EXHIBIT D
                                                                                                     PAGE 156
7:24-cv-03179-TMC               Date Filed 11/13/24              Entry Number 39-4                   Page 28 of 58

         7:23-cv-01427-TMC
         7:23-cv-01427-TMC            Date Filed
                                      Date Filed 04/07/23
                                                 04/07/23.        Entry Number
                                                                  Entry Number 1-2
                                                                               1-2               Page 3
                                                                                                 Page 3 of
                                                                                                        of 23
                                                                                                           23




   1.4.     This Sublease is conditioned upon the consent thereto by Master Landlord, which consent
            shall be evidenced by Master Landlord's signature appended hereto or a separate consent
            in the standard form utilized by Master Landlord for such purposes. Sublandlord agrees
            promptly to request such consent, but Sublandlord shall have no responsibility or liability
            whatsoever if such consent is refused or not obtained for any reason whatsoever or for no
            reason, including Master Landlord exercising its right of recapture, and Sublandlord shall
            have no obligation to initiate any litigation or other proceeding or pay any sums to Master
            Landlord to obtain such consent (other than such sums, if any, which Sublandlord is
            required to pay pursuant to the express provisions of the Master Lease). Subtenant agrees
            to cooperate with Sublandlord with respect thereto and to furnish all financial statements,
            references and other data with respect to Subtenant as Master Landlord may request in
            accordance with the provisions of the Master Lease and execute and deliver such consent
            form provided by Master Landlord. In the event that Master Landlord notifies Sublandlord
            that Master Landlord will not give such consent, Sublandlord will so notify Subtenant and
            this Sublease shall be deemed to be canceled and without force or effect. In the event that
            the previous sentence does not apply but Sublandlord does not receive such consent of
            Master Landlord by a date which is sixty (60) days after the date of this Sublease, then,
            upon written notice to the other, Sublandlord or Subtenant may cancel this Sublease, and
            upon the giving of such notice, this Sublease shall be deemed canceled and of no further
            force or effect. If either of the two (2) previous sentences shall be applicable, Sublandlord
            shall promptly return to Subtenant any pre-paid rent and security deposit heretofore paid
            hereunder and thereafter Sublandlord and Subtenant shall have no further obligations or
            liabilities to the other with respect to this Sublease.

                       ARTICLE I. PROVISIONS OF MASTER LEASE, ETC.
  2.1.      All of the terms, covenants,       conditions and provisions      in the Master Lease,       including
            specifically the provisions regarding Tenant's default and Landlord's remedies with respect
            thereto, are hereby incorporated in, and made a part of this Sublease, except (i) as herein
            otherwise expressly provided; (ii) which by their nature or purport are inapplicable to the
            subleasing of the Subleased Premises pursuant to this Sublease; (iii) are inconsistent with
            or modified by any of the terms, covenants or conditions of this Sublease; (iv) the
            obligation to pay rent and additional charges under the Master Lease; and such rights and
            obligations are hereby imposed upon the respective parties hereto with the same force and
            effect as if (A) references in the Master Lease to the "Lease" and to the "Premises" were
            references, respectively, to this Sublease and the Subleased Premises, and (B) references
            in the   Master   Lease    to   "Landlord"   and   "Tenant"    were    references,    respectively,   to
            Sublandlord and Subtenant and (C) references in the Master Lease to "Rent" and
            "Additional Rent" (D) references in the Master Lease to "Term" and "Commencement
            Date" were references to Sublease Term and Sublease                   Commencement       Date    herein;
            provided, however, with reference to this Sublease:


            (a)   Subtenant's covenant to pay Fixed Rent and Additional Rent (collectively, the
                  "Sublease Rent") shall be independent of every other covenant in this Sublease.
                  Sublandlord's failure to prepare and deliver any statements or notice set forth in
                  Article IV hereof or elsewhere in this Sublease, or Sublandlord's failure to make a




                                                                          EXHIBIT
                                                                          EXHIBIT B
                                                                                  B to
                                                                                    to Blockquarry
                                                                                       Blockquarry Compl.
                                                                                                   Compl.
                                                                                                            EXHIBIT D
                                                                                                             PAGE 157
7:24-cv-03179-TMC            Date Filed 11/13/24          Entry Number 39-4             Page 29 of 58

     7:23-cv-01427-TMC
     7:23-cv-01427-TMC          Date Filed
                                Date Filed 04/07/23
                                           04/07/23.      Entry Number
                                                          Entry Number 1-2
                                                                       1-2         Page 4
                                                                                   Page 4 of
                                                                                          of 23
                                                                                             23




               demand, shall not in any way cause Sublandlord to forfeit or surrender its rights to
               collect any items of Sublease Rent which may have become due during the Sublease
               Term. Subtenant's liability for such amounts shall survive the expiration of the
               Sublease Term.
         (b)   Subtenant agrees that the Subleased Premises shall be occupied only as executive,
               administrative and general offices for Subtenant's business as a Crypto Hosting &
               Mining Facility.
         (c)   References in the Master Lease to work, repairs or restorations to be performed or
               services or maintenance to be supplied by "Landlord" in respect of the Subleased
               Premises shall continue to mean and provide that such work, repairs or restorations
               shall be performed and services or maintenance provided by Master Landlord (and
               not by Sublandlord) pursuant to the terms, covenants and conditions of the Master
               Lease, applicable to the Subleased Premises.
         (d)   Except as otherwise expressly set forth herein, all notice or cure periods of Subtenant
               provided for herein or other time limits for Subtenant to give notice or perform any
               act, condition or covenant, or exercise any right or remedy, shall be the same as those
               provided for in the Master Lease, but reduced by the greater of 25% (rounded to the
               greatest reduction) or three (3) days and, if notice is required, measured from the
               earlier of the date on which notice is given to Subtenant by either Master Landlord or
               Sublandlord.
         (¢)   Supplementing the Master Lease, if a separate consent by Master Landlord to this
               Sublease is signed by Subtenant, the term "Master Lease" and "Sublease" as used
               herein shall each be deemed to include such consent, and it shall be a default under
               this Sublease if Subtenant shall default in the full and timely performance of any of
               its covenants and other agreements set forth in such consent.
  2.2.
         (a)   This Sublease and all rights of Subtenant hereunder are and shall be subject and
               subordinate   in all respects to the Master Lease   and all of the terms,   covenants,
               agreements, provisions and conditions of the Master Lease, and to all modifications,
               amendments and extensions of the Master Lease and to all of Sublandlord's
               obligations under the Master Lease. Sublandlord agrees with Subtenant that so long
               as Subtenant is not in default hereunder, Sublandlord shall not enter into any
               modification or amendment to the Master Lease not expressly provided for or
               contemplated by the Master Lease, which will prevent or materially adversely affect
               the use by Subtenant of the Subleased Premises in accordance with the terms of this
               Sublease, or increase the obligations of Subtenant or decrease its rights under the
               Sublease in any other way materially adversely affecting Subtenant.
         (b)   Subtenant shall duly and fully keep, observe and perform each and every term,
               covenant, provision and condition on Sublandlord's part to be kept, observed and
               performed pursuant to the Master Lease as incorporated herein, including, without
               limitation, the rules and regulations adopted by Master Landlord pursuant thereto,
               except as may otherwise be specifically provided in this Sublease. In furtherance of
               the foregoing and notwithstanding anything herein to the contrary, Subtenant shall




                                                                EXHIBIT
                                                                EXHIBIT B
                                                                        B to
                                                                          to Blockquarry
                                                                             Blockquarry Compl.
                                                                                         Compl.
                                                                                             EXHIBIT D
                                                                                              PAGE 158
7:24-cv-03179-TMC               Date Filed 11/13/24               Entry Number 39-4             Page 30 of 58

      7:23-cv-01427-TMC
      7:23-cv-01427-TMC           Date Filed
                                  Date Filed 04/07/23
                                             04/07/23.            Entry Number
                                                                  Entry Number 1-2
                                                                               1-2         Page 5
                                                                                           Page 5 of
                                                                                                  of 23
                                                                                                     23




                not (i) take or permit any action inconsistent with the terms of the Master Lease or,
                (ii) do or permit to be done anything which Sublandlord is prohibited from doing or
                permitting under the Master Lease, or otherwise do or suffer to permit anything to be
                done which would result in a default under the Master Lease or cause the Master
                Lease to be terminated or forfeited, or (iii) take any action or do or permit anything
                to be done which could result in any additional cost or other liability to Sublandlord
                under or pursuant to the Master Lease.
   2.3.   If, for any reason whatsoever, the Master Lease is terminated as to the Subleased Premises,
          by either Master Landlord or Sublandlord, including, without limitation, Sublandlord's
          termination of the Master Lease and in the event of any damage, destruction or
          condemnation with respect to all or part of the Subleased Premises, this Sublease shall
          thereupon be terminated, and Sublandlord shall not be liable to Subtenant by reason thereof
          for any loss, cost or expense incurred by Subtenant in connection therewith, unless said
          termination shall have been effected because of the breach or default of Sublandlord under
          the Master Lease (and Subtenant is not in default hereunder) or voluntary surrender of the
          Master Lease by Sublandlord to Master Landlord as to the Subleased Premises if
          Sublandlord has reserved the right to exercise a termination right under the Master Lease
          add: except as permitted in this Sublease (which shall not be deemed to include a right of
          termination by reason of casualty or condemnation), provided that in no event shall
          Sublandlord be liable to Subtenant for any loss, cost or expense incurred by Subtenant if
          Master Landlord shall accept an attornment by Subtenant to Master Landlord upon
          substantially the same (or more favorable to Subtenant) terms as provided in this Sublease
          and provided further that in no event shall Sublandlord be liable for any special,
          consequential or punitive damage to Subtenant.
   2.4.   Notwithstanding anything to the contrary contained in this Sublease, Subtenant shall not
          under any circumstances seek or require Sublandlord to perform or provide or to cause
          there to be performed or provided any work, services, signage, utilities, maintenance or
          repairs or make any claim against Sublandlord for any damage which may arise by reason
          of Master Landlord's failure to perform or provide the same pursuant to the Master Lease.
          Except as may be expressly provided in this Sublease, Subtenant shall be entitled to receive
          all of the work, services, signage, utilities, maintenance and repairs from Master Landlord
          to the extent that Sublandlord is entitled to receive the same under the Master Lease, unless
          Master Landlord is excused therefrom by reason of acts or omissions of Subtenant.
   2.5.   Subtenant may, subject to the consent of Master Landlord, request directly from Master
          Landlord   ordinary    work,   services,   utilities,   maintenance   and   repairs   which    Master
          Landlord is obligated to perform in the Subleased Premises pursuant to the Master Lease,
          but such right of Subtenant shall be conditioned on Subtenant not being in default beyond
          any applicable notice and/or cure periods in payment for any such work, services, utilities,
          maintenance and repairs previously so provided to the Subleased Premises or otherwise
          under this Sublease. In the event Subtenant desires any additional services from Master
          Landlord which are not provided in the Master Lease and require an additional charge,
          Subtenant may request such additional services from Master Landlord, provided such
          services shall not be obtained pursuant to the Master Lease and Master Landlord so agrees
          and further agrees that Sublandlord shall have no liability therefor.




                                                                      EXHIBIT
                                                                      EXHIBIT B
                                                                              B to
                                                                                to Blockquarry
                                                                                   Blockquarry Compl.
                                                                                               Compl.
                                                                                                        EXHIBIT D
                                                                                                         PAGE 159
7:24-cv-03179-TMC             Date Filed 11/13/24            Entry Number 39-4              Page 31 of 58

      7:23-cv-01427-TMC
      7:23-cv-01427-TMC           Date Filed
                                  Date Filed 04/07/23
                                             04/07/23.       Entry Number
                                                             Entry Number 1-2
                                                                          1-2          Page 6
                                                                                       Page 6 of
                                                                                              of 23
                                                                                                 23




   2.6.    Sublandlord shall in no event be liable to Subtenant nor shall the obligations of Subtenant
           hereunder be impaired or abated or the performance hereof by Subtenant be excused
           because of (i) any failure or delay on Master Landlord's part in furnishing any services,
           signage, utilities, parking facilities or maintenance or in doing such repairs or work,
           including those which may be contemplated by this Sublease, (ii) any other failure of
           Master Landlord to observe and perform its covenants and agreements pursuant to the
           Master Lease, or (iii) the acts or omissions of Master Landlord, its agents, contractors,
           servants, employees, invitees, or licensees. If Master Landlord shall default in any of its
           obligations to Sublandlord with respect to the Subleased Premises, Sublandlord will use
           reasonable efforts to cause Master Landlord to perform and observe such obligations
           (except that Sublandlord shall not be obligated to commence any legal or other proceedings
           against Master Landlord or to make any payment of money or other consideration, or to
           utilize any self-help rights), but Sublandlord shall have no liability for failure to obtain the
           observance or performance of such obligations by Master Landlord or by reason of any
           default of Master Landlord under the Master Lease, of any failure of Master Landlord to
           act or to grant any consent or approval under the Master Lease, or from any misfeasance
           or nonfeasance of Master Landlord, nor shall the obligations of Subtenant hereunder be
           excused or abated in any manner by reason thereof, except as provided in this Sublease. If
           Sublandlord elects to commence legal or other proceedings against Master Landlord to
           enforce Sublandlord's rights under the Master Lease, Subtenant shall be responsible to
           reimburse Sublandlord for to the Subleased Premises only then for all of, the reasonable
           costs of such proceedings, including, without limitation, reasonable attorneys’ fees incurred
           by Sublandlord, such reimbursement to be made by Subtenant within twenty (20) days after
           demand therefor.
   pails   In the circumstances described in Section 2.6 of this Sublease, Sublandlord may, in its sole
           discretion, elect to exercise any or all of its self-help rights as Tenant under the Master
           Lease. Subtenant agrees that if Sublandlord elects to exercise any such rights, Subtenant
           shall reimburse Sublandlord for [if applicable, add: Subtenant's Proportionate Share of,
           or if pertaining to the Subleased Premises only then for all of,| the cost incurred by
           Sublandlord therefor (including by reason of any indemnity of Master Landlord in
           connection therewith but excluding any reimbursement therefor which has at such time
           been paid by Master Landlord to Sublandlord), such reimbursement to be made by
           Subtenant within twenty (20) days after demand therefor, provided that if Master Landlord
           shall after such payment by Subtenant reimburse Sublandlord for all or any portion of such
           costs, and Subtenant is not in default under the provisions of this Sublease, Sublandlord
           will reimburse Subtenant for the amounts paid to Sublandlord by Subtenant pursuant to
           this sentence to the extent [of the applicable percentage thereof (in accordance with this
           sentence) | of such costs so reimbursed to Sublandlord from Master Landlord. If, however,
           Sublandlord elects not to exercise any of or all such self-help rights, Sublandlord shall not
           be liable to Subtenant for any costs, liabilities or expenses, all of which are hereby released
           by Subtenant.
   2.8.    In the circumstances described in Section 2.6 of this Sublease, if Sublandlord elects not to
           institute legal or other proceedings against Master Landlord in the name of Sublandlord to
           enforce Sublandlord's rights as tenant under the Master Lease but Subtenant shall
           nevertheless request Sublandlord to do so, Sublandlord shall, at Sublandlord's option, either
           (i) assign to Subtenant its causes of action or rights against Master Landlord to the extent




                                                                   EXHIBIT
                                                                   EXHIBIT B
                                                                           B to
                                                                             to Blockquarry
                                                                                Blockquarry Compl.
                                                                                            Compl.
                                                                                                 EXHIBIT D
                                                                                                  PAGE 160
7:24-cv-03179-TMC              Date Filed 11/13/24                 Entry Number 39-4                   Page 32 of 58

      7:23-cv-01427-TMC
      7:23-cv-01427-TMC           Date Filed
                                  Date Filed 04/07/23
                                             04/07/23.             Entry Number
                                                                   Entry Number 1-2
                                                                                1-2            Page 77 of
                                                                                               Page    of 23
                                                                                                          23




          applicable to Subtenant, the Subleased Premises or Subtenant's rights hereunder, and shall
          permit Subtenant to institute such legal or other proceeding against Master Landlord in the
          name of Subtenant or, if necessary in order to effectuate the benefit of such assignment, in
          the name of Sublandlord, provided Subtenant shall use counsel reasonably approved by
          Sublandlord and Subtenant shall not settle such proceeding without the prior written
          consent of Sublandlord (which shall not be unreasonably withheld or delayed), or (ii)
          institute legal or other proceedings against Master Landlord at the request of Subtenant in
          the name of Sublandlord, provided in either of (i) or (ii) that (A) in Sublandlord's
          commercially reasonable judgment, such proceedings will not reduce or impair any claims
          Sublandlord may have against Master Landlord, (B) Subtenant shall not then be in default
          under this Sublease beyond any applicable notice and cure period, (C) such proceeding
          shall be prosecuted at the sole cost and expense of Subtenant and Subtenant shall agree to
          indemnify and hold harmless Sublandlord from any claims, liabilities, damages, costs and
          expenses, including any reasonable attorneys' fees incurred by Sublandlord as a result of
          Subtenant exercising its rights under this subsection, and Subtenant shall furnish to
          Sublandlord a cash deposit or other security in an amount, form and substance reasonably
          satisfactory to Sublandlord securing Sublandlord against all such liability, (D) Sublandlord
          shall reasonably determine that such proceeding is a bona fide attempt by Subtenant to
          enforce Sublandlord's rights under the Master Lease applicable to Subtenant and the
          Subleased Premises and is not primarily of nuisance value, and that there are no other
          practical bona fide methods for obtaining the performance of Master Landlord's obligations
          under   the Master    Lease,   and   (E)   Subtenant's    rights   under   this   Sublease    or use   and
          enjoyment of the Subleased Premises are materially affected.
   2.9.   If, in this Sublease, Subtenant is required to obtain Sublandlord's consent or approval,
          Subtenant understands that Sublandlord may be required to first obtain the consent or
          approval of Master Landlord pursuant to the Master Lease. Sublandlord will cooperate with
          Subtenant in requesting any such consent or approval.          Subtenant shall reimburse
          Sublandlord for any costs or expenses payable under the Master Lease or otherwise
          reasonably incurred by Sublandlord (including, without limitation, legal fees and
          disbursements) in connection with requesting Master Landlord's consent or approval on
          behalf of Subtenant with respect to any matter as to which Master Landlord's consent or
          approval is required under the Master Lease or hereunder. If Master Landlord should
          refuse such consent or approval, Sublandlord shall be released of any obligation to grant
          its consent or approval with respect to such matter whether or not Master Landlord's
          refusal, in Subtenant's opinion, is arbitrary or unreasonable. In any instance in which
          Sublandlord is required by any provision of this Sublease or applicable law not
          unreasonably to withhold consent or approval, Subtenant's sole remedy shall be an action
          for specific performance or injunction requiring Sublandlord to grant such consent or
          approval, all other remedies which would otherwise be available being hereby waived by
          Subtenant, including any claim for monetary damages of any kind or nature.
  2.10.   The rights of Subtenant hereunder are subject and subordinate to all ground and underlying
          leases and to all mortgages to which the Master Lease may be subject and subordinate to,
          or to which the Master Lease may now or hereafter be subjected or subordinated, whether
          now or hereafter affecting such leases or the real property of which the Subleased Premises
          are a part.




                                                                        EXHIBIT
                                                                        EXHIBIT B
                                                                                B to
                                                                                  to Blockquarry
                                                                                     Blockquarry Compl.
                                                                                                 Compl.
                                                                                                          EXHIBIT D
                                                                                                           PAGE 161
7:24-cv-03179-TMC             Date Filed 11/13/24           Entry Number 39-4             Page 33 of 58

      7:23-cv-01427-TMC
      7:23-cv-01427-TMC           Date Filed
                                  Date Filed 04/07/23
                                             04/07/23.       Entry Number
                                                             Entry Number 1-2
                                                                          1-2        Page 8
                                                                                     Page 8 of
                                                                                            of 23
                                                                                               23




   2.11.   Sublandlord agrees to forward to Subtenant, upon receipt thereof by Sublandlord, a copy
           of each notice of default received by Sublandlord in its capacity as tenant under the Master
           Lease. Subtenant agrees to forward to Sublandlord, upon receipt thereof, copies of any
           notices received by Subtenant from Master Landlord or from any governmental authorities
           with respect to the Subleased Premises.
   2.12.   If Subtenant shall default under any of the provisions of this Sublease on its part to be
           performed, and Subtenant shall not have commenced diligently to cure such default within
           five (5) days after notice thereof to Subtenant (except in the case of what Sublandlord
           reasonably believes to be an emergency situation in which case no such notice need be
           given), Sublandlord may, in addition to any other remedy provided in this Sublease, by law
           or otherwise, cure such default and the cost thereof, together with interest thereon from the
           date incurred until paid at the rate provided in Article X hereof, shall be payable by
           Subtenant within ten (10) days following written demand therefor, and in the event
           Subtenant fails to pay the same, Sublandlord may recover such costs, including interest, as
           Additional Rent, in an action brought against Subtenant.
   2.13.   Sublandlord represents that it is the holder of the interest of the tenant under the Master
           Lease, and that the Master Lease is in full force and effect.
   2.14.   Subtenant agrees to indemnify Sublandlord and hold Sublandlord harmless from all losses,
           damages, liabilities and expenses (including, without limitation, reasonable attorneys’ fees
           and expenses) that Sublandlord may incur, or for which Sublandlord may be liable, to
           Master Landlord, arising from the acts or omissions of Subtenant, Subtenant's agents,
           contractors, employees, invitees, or licensees, that are the subject matter of any indemnity
           or hold harmless   of Sublandlord to Master Landlord under the Master Lease, and all
           amounts payable by Subtenant to Sublandlord on account of such indemnity shall be
           deemed to be Additional Rent hereunder.
   2.15.   If asa result of the provisions of the Master Lease, Master Landlord has abated any of the
           fixed rent and/or additional rent payable by Sublandlord as tenant of the Subleased
           Premises under the Master Lease, Sublandlord shall, without duplication of any other
           provision of this Sublease, correspondingly abate the Fixed Rent and Additional Rent
           payable under this Sublease as to all or part of the Subleased Premises, as applicable under
           the Master Lease as to which rent is abated under the Master Lease and for as long as such
           abatement shall continue under the Master Lease.

                                        ARTICLE III. "AS IS".
  3.1.     Subtenant has examined the Subleased Premises, is aware of the physical condition thereof,
           and agrees to take the same "as is" with the understanding that there shall be no obligation
           on the part of Sublandlord to incur any expense whatsoever in connection with the
           preparation of the Subleased Premises for Subtenant's occupancy thereof.             Neither
           Sublandlord nor Sublandlord's agents or other representatives have made, nor has
           Subtenant relied upon, any representations, warranties, or promises, express or implied,
           with respect to the Subleased Premises or the equipment and improvements therein situated
           or serving the same or the physical condition thereof or Master Landlord's title thereto, or
           compliance with laws with respect thereto or with respect to any other matter or thing
           relating to the Subleased Premises.




                                                                  EXHIBIT
                                                                  EXHIBIT B
                                                                          B to
                                                                            to Blockquarry
                                                                               Blockquarry Compl.
                                                                                           Compl.
                                                                                               EXHIBIT D
                                                                                                PAGE 162
7:24-cv-03179-TMC            Date Filed 11/13/24           Entry Number 39-4             Page 34 of 58

      7:23-cv-01427-TMC
      7:23-cv-01427-TMC          Date Filed
                                 Date Filed 04/07/23
                                            04/07/23.      Entry Number
                                                           Entry Number 1-2
                                                                        1-2         Page 9
                                                                                    Page 9 of
                                                                                           of 23
                                                                                              23




   3.2.    Subtenant agrees to indemnify Sublandlord and hold Sublandlord harmless from all losses,
          damages, and expenses (including, without limitation, reasonable attorneys’ fees and
          expenses) that Sublandlord may incur, or for which Sublandlord may be liable, with respect
          to any applicable sales or use tax relating to the sale of the FF&E.

                            ARTICLE IV. SUBLEASE ESCALATIONS.
   4.1.
          (a)   In the event any additional rent or other amounts are payable with respect to any
                time period falling within the term of this Sublease which are attributable to the
                provisions of Section [section] of the Master Lease (including estimated increases,
                if the Master Lease provides for estimated payments) ("Escalation Rent") then
                Subtenant shall pay such amount as Additional Rent hereunder (such additional rent
                payable by Subtenant hereinafter called "Sublease Escalation Rent"). At any time
                after receipt by Sublandlord of any statement for any Escalation Rent, or if
                Sublandlord is at any time obligated to pay any Escalation Rent, Sublandlord may
                deliver to Subtenant a statement prepared, at the option of Sublandlord, by
                Sublandlord and/or Master Landlord ("Escalation Statement") with respect to the
                payment of the Sublease Escalation Rent and, within ten (10) days after delivery of
                such statement, Subtenant shall pay to Sublandlord the Sublease Escalation Rent.
          (b)   If an annual Master Landlord's Statement is furnished by Master Landlord to
                Sublandlord which shows that there has been an overpayment by Subtenant of
                Sublease Escalation Rent or if Master Landlord shall notify Sublandlord that
                Sublandlord is entitled to a credit against subsequent rent due to a refund of Taxes
                and/or Operating Expenses (each as defined in the Master Lease) as to which
                Subtenant paid Sublease Escalation Rent, and if Master Landlord shall actually give
                Sublandlord credit therefor under the Master Lease, Sublandlord shall permit
                Subtenant to credit the amount of such overpayment or Subtenant's portion of such
                refund, as the case may be, against the next subsequent Sublease Escalation Rent
                payments under this Sublease. After the termination of this Sublease and the
                payment to Sublandlord of the balance, if any, of all Sublease Rent due hereunder,
                Sublandlord shall promptly pay to Subtenant the amount of any such refund or
                credit not previously applied by Subtenant. In the event that on or after the
                Sublease Expiration Date any Escalation Rent is due under the Master Lease with
                respect to any period during the Sublease Term and payable as Sublease Escalation
                Rent but not otherwise paid by Subtenant to Sublandlord, Subtenant's obligations
                hereunder on account of such Sublease Escalation Rent shall be appropriately
                prorated and Subtenant shall pay the same as Additional Rent under this Sublease.
                Subtenant's obligations pursuant to the preceding sentence shall survive termination
                or expiration of this Sublease.
          (c)   Subject to the provisions of Section 2.8 hereof, Subtenant shall not have the right to
                question the propriety of or the basis for any such Escalation Statement rendered by
                Master Landlord and Sublandlord shall be under no obligation to challenge, object
                to or contest any such statement, any allocations or determinations made by Master
                Landlord pursuant to such Escalation Rent, although Sublandlord may do so in its




                                                                 EXHIBIT
                                                                 EXHIBIT B
                                                                         B to
                                                                           to Blockquarry
                                                                              Blockquarry Compl.
                                                                                          Compl.
                                                                                              EXHIBIT D
                                                                                               PAGE 163
7:24-cv-03179-TMC            Date Filed 11/13/24           Entry Number 39-4              Page 35 of 58

     7:23-cv-01427-TMC
     7:23-cv-01427-TMC          Date Filed
                                Date Filed 04/07/23
                                           04/07/23.       Entry Number
                                                           Entry Number 1-2
                                                                        1-2         Page 10
                                                                                    Page 10 of
                                                                                            of 23
                                                                                               23




                sole and absolute discretion. In the event that overpayment of Escalation Rent is
                determined after contest of any statement, as to which Subtenant and Sublease
                Escalation Rent, Sublandlord shall promptly notify Subtenant thereof, and if Master
                Landlord has actually credited Sublandlord therefor under the Master Lease for the
                period occurring during the Sublease Term, Sublandlord shall permit Subtenant to
                credit Subtenant's overpayment, but less all costs and expenses incurred by
                Sublandlord in connection with such dispute to the extent not reimbursed by Master
                Landlord to Sublandlord) against the next subsequent Sublease Escalation Rent
                payments under this Sublease. After the termination of this Sublease and the
                payment to Sublandlord of the balance, if any, of all Fixed Rent, Sublease
                Escalation Rent and other Additional Rent due hereunder, Sublandlord shall
                promptly pay to Subtenant the amount described in the previous sentence to the
                extent not previously applied by Subtenant.

                                       ARTICLE V. NOTICES.
   Any notice, demand or communication which, under the terms of this Sublease or under any statute
   or municipal regulation must or may be given or made by the parties hereto, shall be in writing
   and given or made by mailing the same by registered or certified mail, postage prepaid, return
   receipt requested, or by nationally recognized overnight courier for next business day delivery,
   addressed to the party for whom intended at its address as aforesaid; provided, however, from and
   after the Sublease Commencement Date, Subtenant's address shall be the Subleased Premises, and
   with a copy of such communications addressed to Sublandlord sent to [address], Attn: [name],
   Esq. and with a copy of such communications addressed to Subtenant sent to [address]. Either
   party, however, may designate such new or other address to which such notices, demands or
   communications thereafter shall be given, made or mailed by notice given in the manner prescribed
   herein. Any such notice, demand or communication shall be deemed given or served, as the case
   may be, on the date of receipt or if receipt is refused.

                   ARTICLE VI. END OF SUBLEASE TERM; HOLDOVER.
   6.1.   At the expiration or earlier termination of this Sublease for any reason, Subtenant shall
          thereupon restore the Subleased Premises to the condition as required by the Master Lease
          upon the expiration of the term, and shall surrender and deliver up the Subleased Premises
          in good condition and repair, including, but not limited to, free of any furniture, fixtures
          and equipment and any cabling, and reasonable wear and tear and damage by fire or other
          casualty and condemnation which Subtenant is not required to restore or repair excepted,
          and Subtenant shall [leave at the Subleased Premises or remove the FF&E as provided in
          Sections 3.2 and 3.3 hereof and] leave electrical power in electric safe off condition. If the
          Subleased Premises are not timely vacated and surrendered in such condition at the
          Sublease Expiration Date, Subtenant shall and hereby agrees to indemnify and hold
          Sublandlord harmless from and against any and all claims, losses, expenses or damages,
          including, without limitation, attorneys’ fees and disbursements, arising out of or resulting
          from any delay by Subtenant in so surrendering the Subleased Premises, or any portion
          thereof, including, without limitation, any claims made by any succeeding tenant or
          prospective tenant founded upon such delay and the loss of the benefit of the bargain should
          such successive sublease be terminated by reason of such holding over and, including,




                                                                 EXHIBIT
                                                                 EXHIBIT B
                                                                         B to
                                                                           to Blockquarry
                                                                              Blockquarry Compl.
                                                                                          Compl.
                                                                                              EXHIBIT D
                                                                                               PAGE 164
7:24-cv-03179-TMC              Date Filed 11/13/24        Entry Number 39-4             Page 36 of 58

     7:23-cv-01427-TMC
     7:23-cv-01427-TMC           Date Filed
                                 Date Filed 04/07/23
                                            04/07/23     Entry Number
                                                         Entry Number 1-2
                                                                      1-2         Page 11
                                                                                  Page 11 of
                                                                                          of 23
                                                                                             23




           without limitation, any amounts payable by Sublandlord to Master Landlord pursuant to
           the Master Lease in respect of the Premises.
   6.2.   In the event Subtenant remains in possession of the Subleased Premises, or any portion
          thereof, after the Sublease Expiration Date, the parties recognize and agree that the damage
          to Sublandlord resulting therefrom will be substantial and will exceed the amount of the
          monthly installments of the Sublease Rent payable hereunder. Subtenant therefore agrees
          that in addition to any other right or remedy Sublandlord may have hereunder or at law or
          in equity, Subtenant, at the option of Sublandlord, shall be deemed to be occupying the
          Subleased Premises as a subtenant from month to month, at a monthly rental equal to two
          times (i) the monthly Fixed Rent and Additional Rent and other charges payable during the
          last month of the scheduled term hereof or (ii) the fair market value for the Subleased
          Premises, whichever is greater, subject to all of the other terms of this Sublease and the
          Master Lease insofar as the same are applicable to a month to month tenancy. The
          provisions of the preceding sentence shall not be construed to limit any other rights or
          remedies which might be available to Sublandlord as a result of Subtenant's failure to
          surrender possession of the Subleased Premises or any portion thereof on the Sublease
          Expiration Date, including, without limitation, prosecuting a holdover or summary
          dispossess proceeding.

                                   ARTICLE VII. ALTERATIONS.
   Subtenant may make no changes, alterations, additions, improvements or decorations in, to or
   about the Subleased Premises without Sublandlord's prior written consent and, if required by the
   Master Lease, Master Landlord's prior written consent. All work to be performed by Subtenant,
   including the work necessary for Subtenant's initial fit-out and occupancy of the Subleased
   Premises (if any), including telecommunications wiring and cabling ("Subtenant's Initial
   Construction"), shall be performed at Subtenant's cost in accordance with and subject to the terms
   and provisions of the Master Lease, except as may be inconsistent with the express provisions of
   this Sublease, but Subtenant shall be responsible to pay all fees, costs and expenses to Master
   Landlord in connection therewith as and when required by the Master Lease.

                                    ARTICLE VIII. SECURITY.
   8.1.    Subtenant shall prior to, or simultaneously upon, execution and delivery of this Sublease
   to Sublandlord, deposit with Sublandlord a letter of credit complying with the provisions of
   Section 8.2 below (the "Letter of Credit") in the face amount of $50,000.00 USD (the "Security
   Deposit Amount"), in Certified Funds via Cashier’s Check payable to:

   Gaffney Board Of Public Works
   210 East Frederick Street
   PO BOX 64
   Gaffney SC 29342
   Account Number: 60041001



   The Letter of Credit shall be maintained as provided in Section 8.3 below (and should any Letter
   of Credit be drawn upon there shall have been deposited with Sublandlord from the funds of the




                                                               EXHIBIT
                                                               EXHIBIT B
                                                                       B to
                                                                         to Blockquarry
                                                                            Blockquarry Compl.
                                                                                        Compl.
                                                                                            EXHIBIT D
                                                                                             PAGE 165
7:24-cv-03179-TMC            Date Filed 11/13/24             Entry Number 39-4               Page 37 of 58

     7:23-cv-01427-TMC
     7:23-cv-01427-TMC           Date Filed
                                 Date Filed 04/07/23
                                            04/07/23.        Entry Number
                                                             Entry Number 1-2
                                                                          1-2          Page 12
                                                                                       Page 12 of
                                                                                               of 23
                                                                                                  23




   Issuing Bank (as hereinafter defined) a cash security deposit), all as security for the faithful
   performance and observance by Subtenant of all of the terms, provisions and conditions of this
   Sublease (including the payment of any Fixed Rent and Additional Rent (collectively referred to
   as "Sublease Rents"). Subtenant agrees that, in the event that Subtenant defaults in respect of
   any of the terms, provisions and conditions of this Sublease (including the payment of any
   Sublease Rents), Sublandlord may make a demand for payment under said Letter of Credit and
   use, apply, or retain the whole or any part of the proceeds thereof, or any cash security deposited,
   as the case may be, to the extent required for the payment of any Sublease Rents, or any other
   sum as to which Subtenant is in default, or for any sum that Sublandlord may expend or may be
   required to expend by reason of Subtenant's default, in respect of any of the terms, provisions
   and conditions of this Sublease (including any damages or deficiency accrued before or after
   summary proceedings or other re-entry by Sublandlord). In the event that Sublandlord applies or
   retains any portion or all of such proceeds of such Letter of Credit or cash security, as the case
   may be, Subtenant shall within ten (10) business days restore the amount so applied or retained
   by causing the Issuing Bank to issue an amendment thereto, or if no Letter of Credit was then
   outstanding by causing a new Letter of Credit to be issued so that, at all times, the amount of the
   Letter of Credit which may be drawn upon shall be the Security Deposit Amount [as may be
   reduced pursuant to Section 8.4 hereof]. The provisions of this Article shall not be a limitation
   on Sublandlord's rights and remedies under this Sublease or at law or in equity and failure of
   Subtenant to satisfy the obligations of the preceding sentence shall be, for notice purposes,
   construed as a monetary default. In the event that Subtenant shall fully and faithfully comply
   with all of the terms, provisions and conditions of this Sublease, the Letter of Credit or cash
   security, as the case may be, shall be returned to Subtenant ninety (90) days after the later of the
   Sublease Expiration Date or delivery of possession of the entire Subleased Premises to
   Sublandlord in accordance with the terms of this Sublease.
   8.2.    Subtenant shall deliver to Sublandlord and continuously maintain in full force and effect
           until ninety (90) days after the Sublease Expiration Date, a clean, irrevocable Letter of
          Credit issued by any commercial bank acceptable to Sublandlord (hereinafter referred to
          as the "Issuing Bank") (A) (i) with offices for banking purposes in the City of [city name]
          and offices for presentation of letters of credit in the City of [city name], or (ii) if it is the
          normal and ordinary practice of such commercial bank, for presentation of letters of credit
          by a nationally recognized overnight delivery service (e.g. Federal Express) to another
          office of such commercial bank located within the continental United States, and (iii) which
          is insured by the Federal Deposit Insurance Corporation, and (B) whose long-term,
          unsecured and unsubordinated debt obligations which are rated by at least two of Fitch
          Ratings Ltd. (Fitch), Moody's Investors Service, Inc. (Moody's) and Standard & Poor's
          Ratings Services (S&P) or their respective successors at least AA by Fitch, Aa by Moody's
          and AA by S&P, and (C) which has a short term debt rating from at least two of the
          following: Al+ from Fitch, P-1 from Moody's and A-1+ from S&P (collectively, the
          "Issuer Requirements"), which Letter of Credit shall (i) name Sublandlord as beneficiary
          thereof, (ii) have a term of not less than one (1) year, (iii) be in the amount of the then
          applicable Security Deposit Amount, and (iv) otherwise be in form and content satisfactory
          to Sublandlord, in its sole discretion. Sublandlord agrees that a Letter of Credit in the form
          of Exhibit C hereto shall be satisfactory and that, as of the date of this Sublease, [bank
          name]] is approved as the Issuing Bank. The Letter of Credit shall, in any event, provide
          that:




                                                                   EXHIBIT
                                                                   EXHIBIT B
                                                                           B to
                                                                             to Blockquarry
                                                                                Blockquarry Compl.
                                                                                            Compl.
                                                                                                  EXHIBIT D
                                                                                                   PAGE 166
7:24-cv-03179-TMC           Date Filed 11/13/24            Entry Number 39-4              Page 38 of 58

     7:23-cv-01427-TMC
     7:23-cv-01427-TMC         Date Filed
                               Date Filed 04/07/23
                                          04/07/23         Entry Number
                                                           Entry Number 1-2
                                                                        1-2         Page 13
                                                                                    Page 13 of
                                                                                            of 23
                                                                                               23




         (a)   The Issuing Bank shall pay to Sublandlord an amount up to the face amount of the
               Letter of Credit upon presentation of only a demand for payment in the amount to be
               drawn;
         (b)   The Letter of Credit shall be deemed to be automatically renewed, without
               amendment, for consecutive periods of one year each and shall have a final expiry
               date of not earlier than ninety (90) days after the Sublease Expiration Date, unless the
               Issuing Bank sends written notice (hereinafter called the "Non-Renewal Notice") to
               Sublandlord both by Federal Express or similar courier acceptable to Sublandlord and
               by certified or registered mail, return receipt requested, not less than sixty (60) days
               next preceding the then expiration date of the Letter of Credit, that it elects not to
               have such Letter of Credit renewed;
         (c)   Sublandlord, after receipt of the Non-Renewal Notice, or within sixty (60) days prior
               to the expiration date of any Letter of Credit then held by Sublandlord, shall have the
               right, exercisable by a demand for payment draft only, to draw upon the Letter of
               Credit and receive the proceeds thereof (which shall be held by Sublandlord as a cash
               deposit pursuant to the terms of this Article VIII pending the replacement of such
               Letter of Credit or applied as permitted by the terms of this Article VIII); and
         (d)   Upon Sublandlord's assignment or other transfer of its interest in the Sublease, the
               Letter of Credit shall be transferable by Sublandlord as provided in Section 8.5 below.
         If the Letter of Credit held by Sublandlord shall for any reason not have been so renewed
         within sixty (60) days of its then expiration date, Subtenant agrees that (a) it shall no later
         than sixty (60) days of the then expiration date replace such expiring Letter of Credit with
         a Letter of Credit as required by the terms of this Article VIII and Sublandlord agrees that,
         simultaneously with the delivery of such replacement Letter of Credit, it will return to the
         Issuing Bank the Letter of Credit being replaced and (b) in addition to any other right or
         remedy of Sublandlord under this Sublease, at any time prior to such replacement of such
         expiring Letter of Credit, Sublandlord may draw upon the Letter of Credit as provided in
         Section 8.3 below (and the proceeds thereof shall be held by Sublandlord as a cash deposit
         pursuant to the terms of this Article VIII pending the replacement of such Letter of Credit
         or applied as permitted by the terms of this Article VIII).
  8.3.   If Sublandlord draws upon the Letter of Credit, it shall deposit the proceeds thereof into a
         bank (including, without limitation, an account at Sublandlord) or savings and loan
         association to be selected, from time to time, by Sublandlord in its sole discretion, which
         account shall separate from Sublandlord's funds.        Sublandlord agrees to hold the said
         security in such an account, subject, however, to the terms of Section 8.1 hereof, with
         respect to the application of such security in the event of Subtenant's default hereunder and
         subject to Subtenant's obligation and agreement to replace the Letter of Credit so drawn
         upon with another Letter of Credit as required by the terms of this Article VIII whereupon
         Sublandlord shall return such cash security deposit to Subtenant. Sublandlord shall not be
         required to credit any security with interest, or pay any interest thereon to Subtenant. If
         interest shall be earned on such security, then to the extent permitted by law, Subtenant
         agrees that Sublandlord shall be entitled to receive and retain, as an administrative fee, a
         sum equal to one (1%) percent per annum upon the security, and Sublandlord shall have
         the right to withdraw such sum from time to time as Sublandlord shall determine, in its sole




                                                                 EXHIBIT
                                                                 EXHIBIT B
                                                                         B to
                                                                           to Blockquarry
                                                                              Blockquarry Compl.
                                                                                          Compl.
                                                                                               EXHIBIT D
                                                                                                PAGE 167
7:24-cv-03179-TMC            Date Filed 11/13/24            Entry Number 39-4              Page 39 of 58

     7:23-cv-01427-TMC
     7:23-cv-01427-TMC          Date Filed
                                Date Filed 04/07/23
                                           04/07/23.       Entry Number
                                                           Entry Number 1-2
                                                                        1-2          Page 14
                                                                                     Page 14 of
                                                                                             of 23
                                                                                                23




          discretion. The balance of the interest earned on such security, unless and until such
          interest shall be paid to Sublandlord as herein provided, shall be held as a part of the
          security deposited by Subtenant, subject to and in accordance with the terms of Section 8.1
          hereof. Sublandlord shall not be required to credit any security with interest, or pay any
          interest thereon to Subtenant, for any period during which Sublandlord does not receive
          interest thereon.
   8.4.   Provided Subtenant is not and has not been in default under the Sublease, as determined by
          Sublandlord, at any time during the Sublease Term prior to the time of the applicable date
          on which the security deposit amount is to be reduced as provided herein, the Security
          Deposit Amount may be reduced on the [second] anniversary of the Sublease
          Commencement Date to $[dollar amount].        Subtenant may deliver, upon such reduction, a
          substitute Letter of Credit or amendment to the existing Letter of Credit consented to by
          Sublandlord in accordance with the requirements of this Article, it being understood that if
          a substitute Letter of Credit is to be delivered, Sublandlord shall not be obligated to return
          any Letter of Credit in its possession until Subtenant has delivered the substitute Letter of
          Credit.
   8.5.   In the event of an assignment or other transfer of the Master Lease, or Sublandlord's interest
          therein, or a leasing of the entire Premises, Sublandlord shall have the right, without cost
          or expense, to transfer the Letter of Credit or cash security, as the case may be, deposited
          hereunder to the assignee or lessee, and Sublandlord shall thereupon be released by
          Subtenant from all liability for the return of such Letter of Credit or cash security. In such
          event, Subtenant agrees to look solely to the new Sublandlord for the return of said Letter
          of Credit or cash security. It is agreed that the provisions hereof shall apply to every
          transfer or assignment made of said Letter of Credit or cash security to a new Sublandlord.
          Subtenant shall execute such documents as may be necessary to accomplish such transfer
          or assignment of the Letter of Credit and shall pay any transfer or other fees of the Issuing
          Bank. Subtenant hereby acknowledges that Sublandlord will not agree to a letter of credit
          transfer form which requires that Sublandlord's signature be bank authorized or
          authenticated.
  8.6.    Subtenant covenants that it will not assign or encumber, or attempt to assign or encumber,
          the Letter of Credit or cash deposited as security hereunder or any proceeds thereof, and
          that neither Sublandlord nor its successors or assigns shall be bound by any such
          assignment, encumbrance, attempted assignment, or attempted encumbrance.
  8.7.    If Sublandlord determines, in its discretion, that the financial condition of the Issuing Bank
          has so declined as to cause concern that the Issuing Bank may not honor a draw on its
          Letter of Credit, or the Issuer Requirements are not met, Subtenant shall promptly obtain a
          replacement Letter of Credit complying with the terms hereof from another commercial
          bank acceptable to Sublandlord which then meets the Issuer Requirements.              If the
          replacement Letter of Credit complying with the terms of this Sublease shall not have been
          received by Sublandlord within five (5) business days of Sublandlord's request therefor,
          Sublandlord may draw upon the Letter of Credit then held by Sublandlord and the proceeds
          thereof shall be held by Sublandlord as a cash deposit pursuant to the terms of this Article
          VIII pending the replacement of such Letter of Credit or applied as permitted by the terms
          of this Article VIII.




                                                                  EXHIBIT
                                                                  EXHIBIT B
                                                                          B to
                                                                            to Blockquarry
                                                                               Blockquarry Compl.
                                                                                           Compl.
                                                                                               EXHIBIT D
                                                                                                PAGE 168
7:24-cv-03179-TMC               Date Filed 11/13/24           Entry Number 39-4                Page 40 of 58

     7:23-cv-01427-TMC
     7:23-cv-01427-TMC            Date Filed
                                  Date Filed 04/07/23
                                             04/07/23.        Entry Number
                                                              Entry Number 1-2
                                                                           1-2             Page 15
                                                                                           Page 15 of
                                                                                                   of 23
                                                                                                      23




   8.8.   In the event that Subtenant fails to deliver a replacement Letter of Credit pursuant to
          Section 8.2 hereof (if the Letter of Credit is not automatically renewed) or pursuant to
          Section 8.7 hereof, as applicable, such event shall constitute a default by Subtenant
          hereunder and the provisions applicable to a default set forth in the Master Lease as
          incorporated herein shall apply to such default.

                           ARTICLE IX. ASSIGNMENT AND SUBLET.
   9.1.   Subtenant shall not, whether voluntarily, involuntarily or by operation of law, in any
          manner or by reason of any act or omission on the part of Subtenant or any party acting by
          or through Subtenant (w) assign or otherwise transfer this Sublease or the term or estate
          hereby granted, nor (x) sublet, license or underlet all or any part of the Subleased Premises,
          nor (y) permit the Subleased Premises or any desk space therein to be occupied by any
          person(s) (collectively, an "underletting"), nor mortgage, pledge or encumber this Sublease
          or all or part of the Subleased Premises without first obtaining:
          (a)   Master Landlord's consent and all other required consents to such assignment or
                subletting as set forth in and pursuant to the terms of the Master Lease, after Subtenant
                shall have complied with the provisions of the Master Lease as if it were an
                assignment or subletting by Sublandlord thereunder, and
          (b)   Sublandlord's    consent   in   accordance   with   the   terms   of the   Master   Lease   as
                incorporated herein.
          If Subtenant is a corporation, partnership, or limited liability entity, then the transfer in one
          or more transactions of 50% or more of the voting stock, membership or equity interest of
          Subtenant, whether accomplished by merger, operation of law or otherwise, shall constitute
          an assignment for purposes of this Sublease, requiring that Subtenant obtain the consent of
          Sublandlord.
  9.2.    All costs and expenses of Sublandlord incurred in connection with any actual or proposed
          assignment or underletting, including, without limitation, reasonable attorneys' fees and
          disbursements, allocable administrative costs, and any amounts payable under the Master
          Lease as a result of such actual or proposed assignment or underletting, shall be paid by
          Subtenant, as Additional Rent hereunder, within ten (10) days after demand.
  9.3.    Sublandlord shall be entitled to receive from Subtenant (as and when received by
          Subtenant) as an item of Additional Rent one hundred percent (100%) of all amounts
          received by Subtenant from any sub-subtenant or assignee in excess of the amounts payable
          by Subtenant to Sublandlord hereunder (the "Transfer Premium"), as and when paid by
          such assignee or undertenant. The Transfer Premium shall be reduced by the reasonable
          transaction costs actually paid by Subtenant in order to assign this Sublease or to sub-sublet
          the Subleased Premises, provided that Subtenant provides Sublandlord with a detailed
          breakdown of all transaction costs associated with such assignment or subletting at the time
          Subtenant obtains Sublandlord's consent and Sublandlord consents to such costs, which
          consent shall not be unreasonably withheld, conditioned or delayed. The following shall
          constitute transaction costs: work allowances, alteration expenses and other customary
          expenses reasonably incurred by Subtenant in connection with such assignment or sub-
          sublease.   The Transfer Premium shall include all Fixed Rent, Sublease Escalation Rent,
          other Additional Rent or other consideration of any type whatsoever payable by the




                                                                     EXHIBIT
                                                                     EXHIBIT B
                                                                             B to
                                                                               to Blockquarry
                                                                                  Blockquarry Compl.
                                                                                              Compl.
                                                                                                    EXHIBIT D
                                                                                                     PAGE 169
7:24-cv-03179-TMC              Date Filed 11/13/24            Entry Number 39-4           Page 41 of 58

     7:23-cv-01427-TMC
     7:23-cv-01427-TMC           Date Filed
                                 Date Filed 04/07/23
                                            04/07/23.         Entry Number
                                                              Entry Number 1-2
                                                                           1-2      Page 16
                                                                                    Page 16 of
                                                                                            of 23
                                                                                               23




           assignee or sub-subtenant in excess of the Fixed Rent, Sublease Escalation Rent and other
           Additional Rent payable by Subtenant under this Sublease. Transfer Premium shall also
           include, but not be limited to, key money and bonus money paid by the assignee or sub-
           subtenant to Subtenant in connection with such assignment or sub-subletting, and any
           payment in excess of fair market value for services rendered by Subtenant to the assignee
           or sub-subtenant or for physical assets, fixtures, inventory, equipment, or furniture
           transferred by Subtenant to the assignee or sub-subtenant in connection with therewith.
           For purposes of calculating the Transfer Premium, expenses will be amortized on a straight
           line basis over the then remaining term of this Sublease (in the case of an assignment) or
           the term of the sub-sublease, as the case may be, and deducted from any assignment
           proceeds or the sub-sublet rents.
   9.4.    If the Subleased Premises are sub-sublet (whether or not Sublandlord or Master Landlord
           shall have consented thereto), Sublandlord, after default by Subtenant in its obligations
           hereunder,   may,   without notice to Subtenant,    collect rent from the sub-subtenant and
           Subtenant hereby authorizes Subtenant's sub-subtenant to make such payments of rent
           directly to Sublandlord and Sublandlord shall apply the net amount collected to the
           Sublease Rents herein reserved, but no such sub-subletting or collection of rent shall be
           deemed a waiver of the covenant set forth in this Article, or the acceptance of the sub-
           subtenant as a Subtenant. No such sub-subletting or any assignment of this Sublease
           (whether or not Sublandlord or Master Landlord shall have consented thereto) shall release
           Subtenant from the performance and observance by Subtenant of the covenants, obligations
           and agreements on the part of Subtenant to be performed or observed herein and in the case
           of an assignment, Subtenant and the assignee shall be jointly and severally liable for all
           obligations to be performed thereafter under this Sublease. The consent by Sublandlord or
           Master Landlord to an assignment, sale, pledge, transfer, mortgage or sub-subletting shall
           not in any way be construed to relieve Subtenant from obtaining the express consent in
           writing, to the extent required by this Sublease, to any further assignment, sale, pledge,
           transfer, mortgage or sub-subletting.

                                     ARTICLE X. LATE CHARGE.
   To cover the additional expense incurred by Sublandlord in the handling of delinquent payment of
   Fixed Rent, Sublease Escalation Rent, other Additional Rent and other charges payable to
   Sublandlord by Subtenant pursuant hereto, Subtenant will pay on demand if and to the extent
   permitted by applicable law, (i) a "late charge" in an amount equal to the greater of any
   corresponding late charge under the Master Lease or four (4%) percent of such delinquent
   payment, to cover the administrative expenses of handling such late payment, and (ii) for each
   dollar of such Fixed Rent, Sublease Escalation Rent, other Additional Rent and other charges if
   any such amount is received after its due date, interest at the lesser of (A) an annual rate equal to
   the floating prime rate of Bank of America plus four (4%) percent or (B) the maximum rate
   permitted by law, and to accrue from the date such amounts of Fixed Rent, Sublease Escalation
   Rent, other Additional Rent and other charges first became due hereunder.

                                 ARTICLE XI. QUIET ENJOYMENT.
   So long as Subtenant pays all of the Sublease Rents due under this Sublease and performs all of
   Subtenant's other obligations hereunder, Subtenant shall peacefully and quietly have, hold and




                                                                  EXHIBIT
                                                                  EXHIBIT B
                                                                          B to
                                                                            to Blockquarry
                                                                               Blockquarry Compl.
                                                                                           Compl.
                                                                                              EXHIBIT D
                                                                                               PAGE 170
7:24-cv-03179-TMC                 Date Filed 11/13/24              Entry Number 39-4                 Page 42 of 58

     7:23-cv-01427-TMC
     7:23-cv-01427-TMC              Date Filed
                                    Date Filed 04/07/23
                                               04/07/23           Entry Number
                                                                  Entry Number 1-2
                                                                               1-2           Page 17
                                                                                             Page 17 of
                                                                                                     of 23
                                                                                                        23




   enjoy the Subleased Premises during the term of this Sublease, without hindrance by Sublandlord
   or by anyone claiming by or through Sublandlord, subject, however, to the terms, provisions and
   obligations of this Sublease and the Master Lease.



                           ARTICLE XII. INDEMNITY AND INSURANCE.
   12.1.   Subtenant hereby indemnifies and agrees to hold Sublandlord harmless from and against
           any and all claims (including, without limitation, claims of Master Landlord against
           Sublandlord), losses or damages, including, without limitation, attorneys’ fees and
           disbursements, resulting from or arising out of (a) Subtenant's failure to perform any of the
           terms, covenants, conditions or agreements contained in or incorporated into this Sublease
           (or any consents hereto) which, by the terms of this Sublease (or such consents), Subtenant
           is obligated to perform, and (b) any other acts or omissions of Subtenant or Subtenant's
           employees, invitees, agents or other representatives, and (c) any occurrence in or about the
           Premises, unless due to the gross negligence or willful misconduct of Sublandlord, its
           employees, agents, contractors or invitees; and all amounts payable by Subtenant to
           Sublandlord on account of such indemnity shall be deemed to be Additional Rent hereunder
           and shall be payable upon demand.
   12.2.   Subtenant shall, at its sole cost and expense, comply with all of the insurance provisions of
           the Master Lease which are binding on Sublandlord (provided that the commercial liability
           and property damage insurance coverage limits in Section [section’ of the Master Lease
           shall be not less than $[3,000,000] per occurrence for purposes of this Sublease
           notwithstanding anything to the contrary contained in Article If hereof), and Subtenant
           shall name Sublandlord including its subsidiaries, [and] affiliates [and its parent, [parent
           name], | as additional insured as well as each of those parties set forth in the Master Lease
           as required to be named as additional insured. Prior to, or simultaneously with, execution
           and delivery of this Sublease by Sublandlord, Subtenant shall deliver an insurance
           certificate evidencing the foregoing, along with evidence that the insurance policy is
           endorsed indicating that the rights of the additional insured are conferred and rights of
           subrogation are waived, if an endorsement is so required to confer such rights or to waive
           subrogation, as required by this Article XII. Upon request, Subtenant shall furnish
           Sublandlord with all certificates required to be delivered to Master Landlord pursuant to
           the Master Lease.
   12.3.   Notwithstanding anything to the contrary contained in this Sublease, Subtenant, on behalf
           of itself and on behalf of anyone claiming under or through it by way of subrogation or
           otherwise, waives all rights and causes of action against Sublandlord and Master Landlord,
           and   the respective    directors,   shareholders,    officers,   employees,   members,    agents    and
           invitees of Sublandlord and Master Landlord, for any liability arising out of any loss or
           damage in or to the Subleased Premises, its contents and other property located thereon
           and caused by any peril normally covered under all-risk policies issued in the geographic
           area in which the Subleased Premises is located (whether or not such party actually carries
           such insurance policies). The release and waiver shall be complete and total even if such
           loss or damage may have been caused by the negligence of Sublandlord or Master Landlord
           or their   respective   officers,    directors,   shareholders,   employees,    members,    agents    or




                                                                         EXHIBIT
                                                                         EXHIBIT B
                                                                                 B to
                                                                                   to Blockquarry
                                                                                      Blockquarry Compl.
                                                                                                  Compl.
                                                                                                        EXHIBIT D
                                                                                                         PAGE 171
7:24-cv-03179-TMC            Date Filed 11/13/24           Entry Number 39-4             Page 43 of 58

    7:23-cv-01427-TMC
    7:23-cv-01427-TMC           Date Filed
                                Date Filed 04/07/23
                                           04/07/23        Entry Number
                                                           Entry Number 1-2
                                                                        1-2         Page 18
                                                                                    Page 18 of
                                                                                            of 23
                                                                                               23




           invitees, and shall not be affected or limited by the amount of insurance proceeds available
           to Subtenant, regardless of the reason for such deficiency in proceeds. Subtenant covenants
           that from and after the date possession of the Subleased Premises is delivered to Subtenant,
           its casualty insurance policies will contain waiver of subrogation endorsements, and that if
           such endorsements, for any reason whatsoever, are about to become unavailable, it will
           give Sublandlord not less than thirty (30) days prior written notice of such impending
           unavailability.

                        ARTICLE XIII. CONFIDENTIAL INFORMATION.
   13.1.   Subtenant understands that it and its officers and employees, agents or representatives in
           the course of entering into and performing this Sublease, may have access to and come into
           contact with information of Sublandlord and Sublandlord's clients including but not limited
           to, the Master Lease, this Sublease, Master Landlord's consent to this Sublease, materials,
           information, computer software systems and programs, data, operational techniques and
           methodology, ideas, concepts and documents (hereinafter referred to collectively as
           "Corporate Property"). All Corporate Property, unless otherwise specifically declared to
           Subtenant by Sublandlord, is deemed to have pecuniary value to Sublandlord and to be
           confidential in nature.
   13.2.   Subtenant agrees to protect and treat as confidential the Corporate Property, to not disclose
           any Corporate Property to third parties and to not use such Corporate Property for any
           purposes whatsoever other than in connection with entering into or performing its
           obligations under this Sublease. Subtenant will advise each of its employees, agents and
           representatives who have access to same, of their obligation to keep the Corporate Property
           confidential and will not cause or permit other persons or entities to have access to the
           Corporate Property without Sublandlord's prior written consent.
   13.3.   Subtenant understands that Sublandlord, in many instances, uses proprietary information
           of others under contractual license, and Subtenant shall treat such licensed proprietary
           information in the same manner as if they are the Corporate Property and further, shall do
           nothing which would cause Sublandlord to breach the terms of its license agreements.
   13.4.   It is agreed and understood that in the event of a breach of this Section, damages may not
           be an adequate remedy and Sublandlord shall be entitled to injunctive relief to restrain any
           such breach, threatened or actual.
   13.5.   Subtenant's restrictions under this Section shall not apply to information which (i) is
           received by Subtenant from any source, other than Sublandlord, that is authorized to
           disclose it; (ii) is or becomes generally known to the public by publication or some means
           other than a breach of duty of this Sublease; (iii) is required by law, regulation or court
           order to be disclosed, provided that the request for such disclosure is proper and the
           disclosure does not exceed that which is required. In the event of disclosure under clause
           (iii) above, Subtenant shall furnish a copy of this Section to anyone to whom it is required
           to make such disclosure and (a) shall promptly advise Sublandlord in writing of each such
           disclosure, or (b) provide Sublandlord with evidence that such information was rightfully
           in Subtenant's possession prior to disclosure by Sublandlord.




                                                                 EXHIBIT
                                                                 EXHIBIT B
                                                                         B to
                                                                           to Blockquarry
                                                                              Blockquarry Compl.
                                                                                          Compl.
                                                                                              EXHIBIT D
                                                                                               PAGE 172
7:24-cv-03179-TMC               Date Filed 11/13/24                Entry Number 39-4             Page 44 of 58

     7:23-cv-01427-TMC
     7:23-cv-01427-TMC             Date Filed
                                   Date Filed 04/07/23
                                              04/07/23.            Entry Number
                                                                   Entry Number 1-2
                                                                                1-2          Page 19
                                                                                             Page 19 of
                                                                                                     of 23
                                                                                                        23




                                         ARTICLE XIV. SIGNAGE.
   Subtenant may have the rights to property directory signage and suite entry signage to the extent
   that Sublandlord has the rights to such signage pursuant to the Master Lease, if applicable or
   available within the property, included but not limited to the company’s logo and likeness of the
   parent company or any of its subsidiaries. Subtenant shall be responsible for all costs associated
   with signage for the Subleased Premises, which shall be included in Additional Rent hereunder.

                                    ARTICLE XV. MISCELLANEOUS.
   15.1.     This Sublease may not be changed orally, but only by an agreement in writing signed by
             the party against whom enforcement of any waiver, change, modification or discharge is
             sought.
   15.2.     This Sublease shall not be binding upon Sublandlord unless and until it is signed by
             Sublandlord and delivered to Subtenant. This Section 15.2 shall not be deemed to modify
             the provisions of Section 1.4 hereof.
   15.3.     This Sublease constitutes the entire agreement between the parties and all representations
             and understandings have been merged herein.
   15.4.     This Sublease is binding upon and shall inure to the benefit of all of the parties hereto, their
             successors and (subject to the provisions hereof) their assigns.
   15.5.     Neither this Sublease nor a memorandum thereof may be recorded by Subtenant.
   15.6.     Subtenant represents that it has had no discussions with Master Landlord with respect to
             the leasing of space within the Property.
   15.7.     This Sublease shall be governed by, and construed in accordance with the laws of the State
             of South Carolina applicable to agreements to its type, nature and kind made and to be
             performed wholly within said State and without giving effect to the conflict of laws
             principals.
   15.8.     Subtenant hereby represents and warrants to Sublandlord that it has the full right, power
             and authority to enter into the transactions provided for herein.
   15.9.     This Agreement may be executed in several counterparts, each of which shall be deemed
             an original, and all of such counterparts together shall constitute on and the same
             instrument. Signatures provided by facsimile or electronic transmission shall have the
             same force and effect as original signatures and shall be binding upon the parties.
         IN WITNESS WHEREOF, the parties have hereunto set their hands and seals as of the
  day and year first above written.



    SUBLANDLORD:                                          SUBTENANT:


    By:       vos                                         By:        Meneor. Petia
    Name:     Tony Tate                                   Name:       Alonzo V. Pierce
    Title:    CEO, President                              Title:      President / Chairman




                                                                        EXHIBIT
                                                                        EXHIBIT B
                                                                                B to
                                                                                  to Blockquarry
                                                                                     Blockquarry Compl.
                                                                                                 Compl.
                                                                                                    EXHIBIT D
                                                                                                     PAGE 173
7:24-cv-03179-TMC       Date Filed 11/13/24     Entry Number 39-4       Page 45 of 58

    7:23-cv-01427-TMC
    7:23-cv-01427-TMC     Date Filed
                          Date Filed 04/07/23
                                     04/07/23   Entry Number
                                                Entry Number 1-2
                                                             1-2    Page 20
                                                                    Page 20 of
                                                                            of 23
                                                                               23




                         EXHIBIT A. SUBLEASED PREMISES.
                        154 HYATT STREET — GAFFNEY SC 29340




                                                    EXHIBIT
                                                    EXHIBIT B
                                                            B to
                                                              to Blockquarry
                                                                 Blockquarry Compl.
                                                                             Compl.
                                                                           EXHIBIT D
                                                                            PAGE 174
7:24-cv-03179-TMC       Date Filed 11/13/24     Entry Number 39-4          Page 46 of 58

    7:23-cv-01427-TMC
    7:23-cv-01427-TMC     Date Filed
                          Date Filed 04/07/23
                                     04/07/23   Entry Number
                                                Entry Number 1-2
                                                             1-2     Page 21
                                                                     Page 21 of
                                                                             of 23
                                                                                23




                   EXHIBIT B. ANNUAL RENT (ANNUAL AMOUNTS).



            YEAR                   RENT AMOUNT              EXPIRATION DATE
                                    (ANNUALLY)

           YEAR 1                      $36000             First anniversary of the last
                                                          day of the month preceding
                                                         the month in which the Rent
                                                         Commencement Date occurs

           YEAR 2                      $36000

           YEAR 3                      $36000

           YEAR 4                      $36000

           YEAR 5                      $36000




                                                    EXHIBIT
                                                    EXHIBIT B
                                                            B to
                                                              to Blockquarry
                                                                 Blockquarry Compl.
                                                                             Compl.
                                                                                EXHIBIT D
                                                                                 PAGE 175
7:24-cv-03179-TMC       Date Filed 11/13/24     Entry Number 39-4       Page 47 of 58

    7:23-cv-01427-TMC
    7:23-cv-01427-TMC     Date Filed
                          Date Filed 04/07/23
                                     04/07/23   Entry Number
                                                Entry Number 1-2
                                                             1-2    Page 22
                                                                    Page 22 of
                                                                            of 23
                                                                               23




                           EXHIBIT C. LETTER OF CREDIT




                                                    EXHIBIT
                                                    EXHIBIT B
                                                            B to
                                                              to Blockquarry
                                                                 Blockquarry Compl.
                                                                             Compl.
                                                                           EXHIBIT D
                                                                            PAGE 176
7:24-cv-03179-TMC                         Date Filed 11/13/24                   Entry Number 39-4                    Page 48 of 58

             7:23-cv-01427-TMC
             7:23-cv-01427-TMC                Date Filed
                                              Date Filed 04/07/23
                                                         04/07/23              Entry Number
                                                                               Entry Number 1-2
                                                                                            1-2                Page 23
                                                                                                               Page 23 of
                                                                                                                       of 23
                                                                                                                          23




Litchian Corp Gaffney BPW Sub-Lease
Agreement
Final Audit Report                                                                                      2021-10-20


      Created:              2021-10-18

       By:                  Tony Tate (Secretary@LitchainCorp.com)

      Status:               Signed

      Transaction ID:       CBJCHBCAABAAwy1PTK53uAtq2aBKzEQR_IVYDK-IdUsS




"Litchian Corp Gaffney BPW Sub-Lease Agreement" History
*)       Document created by Tony Tate (Secretary@LitchainCorp.com)
        2021-10-18 - 6:53:03 PM GMT- IP address: 184.90.183.182


C.       Document emailed to Alonzo v. Pierce (ap@iswholdings.com) for signature
        2021-10-18 - 6:55:12 PM GMT


*5)     Email viewed by Alonzo v. Pierce (ap@iswholdings.com)
        2021-10-18 - 6:55:52 PM GMT- IP address: 172.58.101.35


      , Document e-signed by Alonzo v. Pierce (ap@iswholdings.com)
        Signature Date: 2021-10-18 - 9:26:46 PM GMT - Time Source: server- IP address: 73.32.122.30


        Document emailed to Tony Tate (ttate@litchaincorp.com) for signature
        2021-10-18 - 9:26:48 PM GMT


t')     Email viewed by Tony Tate (ttate@litchaincorp.com)
        2021-10-18 - 9:40:10 PM GMT- IP address: 104.28.94.188


      , Document e-signed by Tony Tate (ttate@litchaincorp.com)
        Signature Date: 2021-10-20 - 8:09:17 PM GMT - Time Source: server- IP address: 184.90.183.182


@       Agreement completed.
        2021-10-20 - 8:09:17 PM GMT




       Adobe Sign
                                                                                      EXHIBIT B
                                                                                     “EXHIBIT B toto Blockquarry
                                                                                                     Blockquarry Compl.
                                                                                                                  Compl:
                                                                                                               EXHIBIT D
                                                                                                                 PAGE 177
7:24-cv-03179-TMC            Date Filed 11/13/24           Entry Number 39-4             Page 49 of 58

        7:23-cv-01427-TMC
        7:23-cv-01427-TMC         Date Filed
                                  Date Filed 04/07/23
                                             04/07/23.      Entry Number
                                                            Entry Number 1-3
                                                                         1-3          Page 1
                                                                                      Page 1 of
                                                                                             of 6
                                                                                                6




                       SPECIAL BENEFIT LICENSE AGREEMENT

           THIS SPECIAL BENEFIT LICENSE AGREEMENT                       is made and entered into as of
   this 18th_ day of October 2021, by and between LITCHAIN Corporation, a duly organized Florida
   Profit Corporation (“LICENSOR”), and |SW HoldingsInc                    , (“LICENSEE”), a
    Nevada Corporation      , hereinafter, collectively (the “Parties”).

                                                  RECITALS


          WHEREAS, the Licensor is a party to a Special Agreement with Gaffney Board of Public
   Works, (“BPW”) to authorize Licensor to participate in BPW’s Economic Development Incentive
   Rate (“Schedule I’’) and Credit for New Loads (“Schedule I Economic Development Credits”) for
   electric service as of September 8, 2021, (hereinafter “Special Agreement for Electric Utility
   Service to LITCHAIN      Corporation”, and collectively referred to as the “Original Agreement’,
   hereby incorporated by reference);

           WHEREAS,       the Licensor has decided to enter into an agreement with Licensee to pass-
   along it’s benefits of the Special Agreement for Electric Utility Service Agreement to Licensee on
   a non-exclusive basis and Licensee has agreed to accept the terms of said Agreement as more fully
   described in this Agreement.

           NOW,     THEREFORE,       in consideration of the mutual promises and covenants herein,
   contained, the parties agree as follows:

   l.      RECITALS. The recitals set forth above are incorporated herein by reference.

   De      GRANT OF SPECIAL BENEFIT LICENSE. The Licensor does hereby grant to the
   Licensee, and the Licensee does hereby accept from the Licensor, a revocable license for the use
   of the benefits of the Original Agreement for a term of 5 year(s) from the date of execution of this
   Agreement. Licensee acknowledges that, under all applicable South Carolina Law, Licensee
   acquires no prescriptive rights or other property rights or claims by virtue of license.

           This   license shall continue for 5 year(s) from   the date of execution    or until   written
   notification of its revocation by the Licensor is provided to the Licensee at least sixty (60) days
   prior to such revocation. This license is revocable with or without cause or reasonableness at the
   will and at the sole discretion of the Licensor. The Licensee understands that the Original
   Agreement was granted by a public service agency and albeit may have entitled Licensee to certain
   rights or due process rights, Licensee understands that no procedural due process rights or claims
   arising from the procedure used or considered to revoke this license and the Licensee specifically
   waives any claims or rights arising from such termination. The Licensee shall further have no right




                                                                EXHIBIT
                                                                EXHIBIT C
                                                                        C to
                                                                          to Blockquarry
                                                                             Blockquarry Compl.
                                                                                         Compl.
                                                                                              EXHIBIT D
                                                                                               PAGE 178
7:24-cv-03179-TMC             Date Filed 11/13/24          Entry Number 39-4             Page 50 of 58

      7:23-cv-01427-TMC
      7:23-cv-01427-TMC           Date Filed
                                  Date Filed 04/07/23
                                             04/07/23.      Entry Number
                                                            Entry Number 1-3
                                                                         1-3         Page 2
                                                                                     Page 2 of
                                                                                            of 6
                                                                                               6




   or claim for damages arising from the termination of this license, regardless of the amount of
   investment by the Licensee and the duration of use of the benefits from the Original Agreement
   by the Licensee. No representations or predictions made by the Licensor or any of its officers,
   employees, charter officials or agents shall give any right of use or any right of damages for losses
   sustained by the Licensee because of the revocation of this license.

           In the event that this license is revoked, the Licensee shall have a period of no more than
   sixty (60) days from the date of notification of such revocation to immediately cease usage of all
   benefits from the Original Agreement and agrees that Licensee shall become liable for all
   outstanding obligations as it relates to utility services owed to the public works service provider.

          In the event that the Licensee cease usage of all benefits received from the Original
   Agreement, Licensee shall be liable for the excess costs of utilities owed and shall immediately
   upon written demand by Licensor remit payment for all usage that may be incurred by Licensee.

   a       PAYMENT TO LICENSOR. At this juncture licensee will not be required to remit
   payment or services for the usage of this special benefit. When applicable, the payment instructions
   will be detailed in Schedule A, attached and incorporated in this Agreement.

   4.      CRITERIA COMPLIANCE. The Licensor has received from the Original Agreement of
   the authority to quality for specialized electrical service rates from BPW. Licensee agrees to
   comply with all laws and regulations outlined by BPW to qualify for the Schedule I Economic
   Develop Credits based upon the following criteria:

                  a.   The Schedule I Economic Development Credits will commence when the
                       electric load reaches 1,000 kW, on average and has an average monthly load
                       factor of forty-five percent (45%).
                  b.   The Schedule I Economic Development Credits will become applicable and
                       remain applicable only if monthly peak load is in excess of 1,000 kW on
                       average.
                  c.   Loads must satisfy the Schedule I criteria by March 01, 2022 or the offer of the
                       BPW Schedule will be withdrawn.

   Licensee understands and agrees that the criteria compliance is subject to change and all material
   changes will be communicated in writing via the Licensor.

   5.      BENEFIT PAYMENT. Licensee agrees to remit all special benefit payments to the
   appropriate public service provider accordingly to the invoices and in the event default of payment
   Licensee’s entitlement to the benefit shall be immediately revoked.




                                                                 EXHIBIT
                                                                 EXHIBIT C
                                                                         C to
                                                                           to Blockquarry
                                                                              Blockquarry Compl.
                                                                                          Compl.
                                                                                              EXHIBIT D
                                                                                               PAGE 179
7:24-cv-03179-TMC             Date Filed 11/13/24                 Entry Number 39-4           Page 51 of 58

      7:23-cv-01427-TMC
      7:23-cv-01427-TMC            Date Filed
                                   Date Filed 04/07/23
                                              04/07/23.           Entry Number
                                                                  Entry Number 1-3
                                                                               1-3        Page 3
                                                                                          Page 3 of
                                                                                                 of 6
                                                                                                    6




   6.       ADDITIONAL BENEFITS. As a result of Licensee usage of this special benefit,
   Licensee hereby grants to Licensor the ability to utilize upwards of 100 % of any land use where
   the special benefit will be utilized for the duration of the Agreement. Licensor understands that

   7.     INDEMINIFCATION. The Licensee agreements to indemnify and hold harmless,
   assume legal liability for and defend Licensor, any and all of its officers, employees, agents,
   servants, and successors and assigns from against any and all actions, claims, liabilities, assertions
   of liability, losses and cost and expenses in law or equity, including but limited to attorney’s fees
   at trial and appellate levels, reasonable investigative and discovery costs, court costs or claims of
   every kind and nature whatsoever, which in any manner directly or indirectly may arise or be
   alleged to have arisen, or resulted or alleged to have resulted from the negligent acts or omissions
   or other wrongful conduct of the licensee’s reliance on the benefits or any other claim which arise
   out of or relate to any material breach of this Agreement.

   8.     ASSIGNMENT. Neither this Agreement nor any benefit, duties or obligations under this
   Agreement may be assigned by Licensee without the prior written consent of Licensor. Any such
   assignment will be considered null and void.

   9.        NOTICES. Any notices required to be given under this Agreement to either party shall be
   in writing and shall be transmitted by (i) registered mail; (ii) certified mail, return receipt requested,
   or (iii) overnight mail addressed to the party to be notified at the following address or to such other
   address (or person) as such party shall specific by the like notice hereunder:

           LICENSOR:               LITCHAIN CORP
                                   Tony Tate
                                   CEO, President


           LICENSEE:                ISW Holdings Inc
                                    Alonzo V. Pierce, President


   10.      ATTORNEY’S FEES. If either party incurs any legal fees associated with the
   enforcement of this Agreement or any rights under this Agreement, the prevailing party shall be
   entitled to recover its reasonable attorney’s fees and any court, arbitration, mediation, or other
   litigation expense from the other party.

   11.     ARBITRATION. Any dispute, controversy or claim arising out of or related in any to this
   Agreement or any services performed hereunder which cannot be amicably resolved by the Parties
   shall be solely and finally settled by arbitration administered by the American Arbitration
   Association in accordance with its commercial arbitration rules. Judgment on the award rendered
   by the arbitrator(s) may be entered in any court having jurisdiction thereof. The arbitration shall
   take place before a panel of three (3) arbitrators sitting in the State of South Carolina. The language




                                                                     EXHIBIT
                                                                     EXHIBIT C
                                                                             C to
                                                                               to Blockquarry
                                                                                  Blockquarry Compl.
                                                                                              Compl.
                                                                                                   EXHIBIT D
                                                                                                    PAGE 180
7:24-cv-03179-TMC             Date Filed 11/13/24           Entry Number 39-4              Page 52 of 58

      7:23-cv-01427-TMC
      7:23-cv-01427-TMC           Date Filed
                                  Date Filed 04/07/23
                                             04/07/23.       Entry Number
                                                             Entry Number 1-3
                                                                          1-3          Page 4
                                                                                       Page 4 of
                                                                                              of 6
                                                                                                 6




   of the arbitration shall be English. The arbitrators will be bound to adjudicate all disputes in
   accordance with laws of the State of South Carolina. The decision of the arbitrators shall be in
   writing with written findings of fact and shall be final and binding on the parties. Each party bear
   in own costs relating to the arbitration proceedings irrespective of its outcome. This section
   provides the sole recourse for the settlement of any disputes arising out of, in connection with or
   related to this Agreement.

   12.     GOVERNING LAW. This Agreement will be governed by and construed in accordance
   with the laws of the State of South Carolina, without regard to its conflicts of laws principles.

   13.     WAITVER. The failure of any party to insist in any one or more instances upon performance
   of any of the terms and conditions of this Agreement shall not be construed as a waiver or
   relinquishment of any right granted hereunder, or of the future performance of such provision or
   any other covenant or condition, but the obligations of all parties hereunder with respect hereto
   shall continue in full force and effect.

   14.      SEVERABILITY. Should any reason or any part of any section of this Agreement be
   rendered void, invalid, or unenforceable by any court of law, for any reason, such determination
   shall not render void, invalid, or unenforceable any other section or any party of any section in this
   Agreement.

   15.     FORCE MAJEURE. Neither Party shall be liable hereunder for any failure or delay in
   performance of its obligations under this Agreement, except for the payment of money, if such
   failure or delay is on account of causes beyond its control, including but not limited to labor
   disputes, civil commotion, war, fires, floods, inclement of weather, government regulations or
   controls, casualty, government authority, strikes, pandemics, epidemics, local disease outbreaks,
   public health emergencies, or acts of God, in which event the non-performing party shall be
   excused from its obligations for the period of the delay and for a reasonable time thereafter. Each
   party shall use reasonable efforts to notify the other party of the occurrence of such an event within
   three (3) business days of its occurrence.

  16.      ENTIRE AGREEMENT. This Agreement supersedes any and all agreements, either oral
  or written, between the Parties with respect to the benefits outlined in this Agreement and contains
  all of the representations, covenants, and agreements between the Parties with respect to the
  rendering of these benefits. Each Party to this Agreement acknowledges that no representations,
  inducements, promises, or agreements, orally or otherwise, have been made by any Party, or
  anyone acting on behalf of any Party, which are not contained in this Agreement, and that no other
  agreement, statement, or promise not contained in this       Agreement will be valid or binding. Any
  modification of this Agreement will be effective only if it is in a writing signed by an authorized
  representative of the party to be charged.




                                                                  EXHIBIT
                                                                  EXHIBIT C
                                                                          C to
                                                                            to Blockquarry
                                                                               Blockquarry Compl.
                                                                                           Compl.
                                                                                                EXHIBIT D
                                                                                                 PAGE 181
7:24-cv-03179-TMC                Date Filed 11/13/24        Entry Number 39-4       Page 53 of 58

          7:23-cv-01427-TMC
          7:23-cv-01427-TMC          Date Filed
                                     Date Filed 04/07/23
                                                04/07/23.   Entry Number
                                                            Entry Number 1-3
                                                                         1-3     Page 5
                                                                                 Page 5 of
                                                                                        of 6
                                                                                           6




                                [SECTION INTENTIONALLY LEFT BLANK]

   IN WITNESS       WHEREOF, the parties have executed this Agreement as of the day and year first
   written above.


   LICENSOR,
   LITCHAIN CORP, a Florida Profit Corporation

   By:              slgSoy
   Its:             CEO, PRESIDENT



   LICENSEE,

   By:              Moto Ve Porte
   Its:             President
   Address:         700 Louisiana St. Suite 3950
                    Houston, Texas
   EIN:             XX-XXXXXXX




                                                               EXHIBIT
                                                               EXHIBIT C
                                                                       C to
                                                                         to Blockquarry
                                                                            Blockquarry Compl.
                                                                                        Compl.
                                                                                         EXHIBIT D
                                                                                          PAGE 182
7:24-cv-03179-TMC           Date Filed 11/13/24           Entry Number 39-4             Page 54 of 58

      7:23-cv-01427-TMC
      7:23-cv-01427-TMC          Date Filed
                                 Date Filed 04/07/23
                                            04/07/23.      Entry Number
                                                           Entry Number 1-3
                                                                        1-3         Page 6
                                                                                    Page 6 of
                                                                                           of 6
                                                                                              6




                                            SCHEDULE “A”

           LICENSEE agrees to the following payment terms and breakdown to Licensor for the
   usage   of the special benefits provided in the Special Benefit License Agreement dated
    Oct 19,2021


   PAYMENT SCHEDULE AND INSTRUCTIONS:

   As required by Licensor upon receipt of notice. All payments are within 10 days or receipt per
   the payment instructions received via the Licensor Payment Instruction Agreement that was
   provided separately to Licensee.

                              WIRE:   Litchain Corp | Routing ABA: 021000021   | ACCT#: 502012252
    SWIFT CODE/INTERNATIONAL WIRE:    CHASUS33 ADDRESS:      270 Park Avenue | New York, New York | 10017
                              ACH:    Litchain Corp | Routing ABA: 267084131   | ACCT#: 502012252
   SERVICES:


   Licensee as a result of a benefactor of the special benefits agreement has agreed to provide the
   following services for Licensor as outlined below:

   None to speak of for this agreement only.




                                                               EXHIBIT
                                                               EXHIBIT C
                                                                       C to
                                                                         to Blockquarry
                                                                            Blockquarry Compl.
                                                                                        Compl.
                                                                                            EXHIBIT D
                                                                                             PAGE 183
7:24-cv-03179-TMC               Date Filed 11/13/24                    Entry Number 39-4                 Page 55 of 58
        7:23-cv-01427-TMC              Date Filed 04/07/23              Entry Number 1-4           Page 1 of 4




                                           SPECIAL AGREEMENT


                       FOR ELECTRIC UTILITY SERVICE TO LITCHAIN CORPORATION




  THIS AGREEMENT,       effective September 8, 2021, is by and between the Gaffney Board of Public Works
  ("BPW'), Gaffney, South Carolina, and Litchain Corporation (LC), a prospective customer which has made
  application for electric utility service from the BPW in accordance with the BPW’s policies, regulations and
  rates. LC's electrical loads are expected to grow to a fevel which will qualify for the applicability of BPW’s
  Economic Development Incentive Rate ("Schedule 1") and Credit for New Loads ("Schedule | Economic
  Development Credits") for electric service as more fully described in this Agreement.

                                                          RECITALS


  A.      The BPW has duly approved Schedule | to provide electrical service to industrial customers which
  meet the applicability criteria.    A copy of Schedule K, Schedule |, and Schedule | Economic Development
  Credits is attached hereto and incorporated herein by reference.

  B.      The Schedule K, Schedule |, and Schedule | Economic Development Credits, and other schedules
  and credits the BPW may offer from time to time, are available to LC, as an electrical customer of the
  BPW, upon satisfaction of certain applicability provisions described in Section 1, Section 2, and Section 3
  of this Agreement.

  C.      LC provided its potential electric load forecast to the BPW. Based upon these load forecasts, the
  BPW offered LC a proposal which includes electrical service under Schedule |, and Schedule | Economic
  Development Credits. During the term of this Agreement as provided in Section 4, LC also has the right
  and option to receive service under different schedules and credits as provided in Section 3 (1) hereof.



                          Section 1: Conditions of Applicability for Rate Schedule K

  The   BPW   agrees   to provide    LC with   electric   service    under   Schedule   K as temporary   service   upon
  commencement of operations until the time LC's load reaches the criteria for Schedule I.

                          Section 2: Conditions of Applicability for Rate Schedule |

  The BPW will provide LC electrical service under Schedule | and the Schedule | Economic Development
  Credits provided that LC meets the following conditions:

  1.      The Schedule | remains applicable only if LC's monthly peak load is in excess of 750 kW on average,
  with an average monthly load factor of not less than 45%.




                                                                              EXHIBIT D to Blockquarry Compl.
                                                                                                            EXHIBIT D
                                                                                                             PAGE 184
7:24-cv-03179-TMC                  Date Filed 11/13/24                 Entry Number 39-4                   Page 56 of 58
       7:23-cv-01427-TMC               Date Filed 04/07/23              Entry Number 1-4              Page 2 of 4




  2.        The Schedule | Economic Development Credits will become applicable and remain applicable only
  if LC's monthly peak load is in excess of 1,000 kW on average.

  3.       LC loads must satisfy the Schedule | criteria by March 1, 2022, or the offer of the BPW Schedule |
  will be withdrawn.

                                  Section 3: Option for Change of Rate Schedule


  1.       At any time during the term of this Agreement and any extension thereof, LC has the option to
  request a switch to another electric rate schedule available from the BPW; provided, however, that LC
  meets all of the criteria of the rate schedule to which it desires to switch, and BPW approves the change
  of rate. LC can request to switch rate schedules a maximum of one time a year. The rate schedules from
  which LC has an option to choose from will be the schedules available from the BPW at the time of the
  decision. If a rate switch is made BPW reserves the right to modify or establish a new special service
  agreement.

  2.       Any decision by LC to switch to another electric rate schedule must be in the form of a written
  request submitted to the Board of Public Works, and the new electric rate schedule, including any
  applicable credits, shall take effect upon approval by the BPW.

                                               Section 4: Term of Contract

  1.       After the completion of construction of the LC facility and at the time the facility becomes
  operational, this Agreement will commence and continue for a term of eight (8) years. LC will notify the
  Board of Public Works in writing of the date of facility completion and commencement of operations.

  2.      The Schedule | Economic Development Credits will commence when LC's load reaches 1,000 kw,
  on average, and has an average monthly load factor of 45%, and will terminate forty-eight (48) months
  from the date such Schedule | Economic Development Credits are applied in accordance with Schedule |.
  Credits will be applied as a straight pass through from PMPA to LC through monthly billing according to
  Schedule |.

  3.      At the end of the initial eight (8) year term, and without either party taking action with respect to
  the terms of this Agreement, this Agreement is automatically renewable, and the parties will continue the
  application   of the service,    schedule,     and   credits then   in effect   unless   later revised   hereunder,   for
  successive one-year terms.

                                     Section 5: Special Terms and Conditions

  1.      This Agreement and the application of Schedule | are subject to the condition that if future
  wholesale rates for the Economic Development Rate or successor charged by Piedmont Municipal Power
  Agency (PMPA) are increased and are no longer competitive with other qualified power suppliers, this
  contract may be canceled by LC upon ninety (90) days written notice to the BPW. Upon cancellation, LC
  would be required to reimburse the BPW credits received based on the PMPA participant responsibility
  schedule provided in the additional credits rider.




                                                                             EXHIBIT D to Blockquarry Compl.
                                                                                                                EXHIBIT D
                                                                                                                 PAGE 185
7:24-cv-03179-TMC               Date Filed 11/13/24               Entry Number 39-4                 Page 57 of 58
       7:23-cv-01427-TMC              Date Filed 04/07/23          Entry Number 1-4             Page 3 of 4




                                          Section 6: Quality of Service


  In an effort to provide the highest level of service to LC and other customers, the BPW constantly strives
  to keep its distribution system properly maintained and in good operating condition. In its goal to
  maintain a top quality system, the BPW agrees to the following service conditions:

  1,       BPW will perform tree trimming on all distribution lines on its system at least once every four (4)
  years.   Main feeder lines will be inspected, and trimmed if needed, once a year to insure the main lines
  remain free from tree growth. The BPW maintains two full-time tree trimming crews to perform this task.

  2.       In the event of a problem with the electrical service to the LC facility,   a BPW service employee will
  respond to the problem and be on the scene within 30 minutes. This employee will ascertain the problem
  and advise the customer, to the best of his ability, regarding the length of time to repair the problem.

  3.     The BPW will maintain spare parts and equipment for repair and/or replacement of the
  equipment used to provide electric service to LC's facility. These parts will be located at the Central
  Warehouse. LC is choosing to provide its own distribution transformers (2500 KVA, 240/416 v).

  4.       The BPW currently operates three (3) bulk power delivery stations on its system. The BPW can
  serve LC from either station with a high level of reliability. A fourth delivery station is being designed in
  the vicinity of the LC site.

  5.       The BPW has access to technical expertise in the field of electrical operations from which LC may
  benefit. This expertise will be available to LC whenever it is needed.

                                        Section 7: Other terms; Notices


  1.     Per BPW policy, LC will be required to pay a deposit that is equal to LC’s expected two highest
  month utility bill average.

  2.       The terms and conditions contained in this Agreement shall represent the final terms and
  conditions. In addition to this agreement, all standard BPW policies apply.

  3.       Any notices required under this Agreement are to be provided to the following:




                                                                        EXHIBIT D to Blockquarry Compl.
                                                                                                        EXHIBIT D
                                                                                                         PAGE 186
7:24-cv-03179-TMC                  Date Filed 11/13/24         Entry Number 39-4       Page 58 of 58
         7:23-cv-01427-TMC              Date Filed 04/07/23     Entry Number 1-4    Page 4 of 4




  As to the BPW:     General Manager
                     Board of Public Works
                     210 East Frederick Street
                     Post Office Box 64
                     Gaffney, South Carolina 29342



  As to LC:          Tony Tate
                     Litchain Corporation
                     President
                     118 % Willis Plaza
                     Gaffney SC 29340




  IN WITNESS WHEREOF, the BPW and LC have caused this Agreement to be signed by their duly
  authorized representatives.



  BOARD OF PUBLIC WORKS                                   ATTEST

  By:
                                                                          i
  Its:



  LITCHAIN CORPORATION                                    ATTEST
                       ry   ——ae

  By:     Vet Bred          / ACL                             Tony Tate
         President
  Its




                                                                     EXHIBIT D to Blockquarry Compl.
                                                                                             EXHIBIT D
                                                                                              PAGE 187
